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     1                        UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
     2                              SOUTHERN DIVISION
                                        _ _ _
     3
          UNITED STATES OF AMERICA,
     4
                         Plaintiff,
     5
             vs.                                      Case No. 17-20595
     6
          YOUSEF M. RAMADAN,                          Hon. Marianne O. Battani
     7
                      Defendant.
     8    _______________________________/
     9                              EVIDENTIARY HEARING
   10                  BEFORE THE HONORABLE MARIANNE O. BATTANI
                             United States District Judge
   11                   Theodore Levin United States Courthouse
                             231 West Lafayette Boulevard
   12                              Detroit, Michigan
                                Wednesday, May 23, 2018
   13
          APPEARANCES:
   14
          For the Plaintiff:        RONALD W. WATERSTREET
   15                               MICHAEL M. MARTIN
                                    HANK MOON
   16                               U.S. Attorney's Office
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   18
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          Also Present:             Tania Ghanem, Court Interpreter
   23
   24
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     1     Detroit, Michigan
     2     Wednesday, May 23, 2018
     3     at about 10:31 a.m.
     4                                     _    _     _
     5               (Court, Counsel and Defendant present.)
     6               THE LAW CLERK: All rise.
     7               The United States District Court for the Eastern
     8    District of Michigan is now in session, the Honorable
     9    Marianne O. Battani presiding.
   10                You may be seated.
   11                Calling Case No. 17-20595, United States vs.
   12     Ramadan.
   13                MR. WATERSTREET: Good morning.
   14                MR. DENSEMO: Good morning, Your Honor.
   15                MR. WATERSTREET: Good morning.
   16                THE COURT: Just one minute. All right. I think
   17     from what I understand, the courtroom is set up. Let me have
   18     your appearances, please, counsel.
   19                MR. MARTIN: Good morning, Your Honor.
   20     Michael Martin, Ronald Waterstreet and Hank Moon for the
   21     government. With us today is paralegal Darlene Secord and
   22     FBI Special Agent David Banach.
   23                THE COURT: All right.
   24                MS. FITZHARRIS: Good morning, Your Honor.
   25     Colleen Fitzharris on behalf of Yousef Ramadan.


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     1               MR. DENSEMO: Andrew Densemo on behalf of
     2    Mr. Ramadan as well, Your Honor, who is also present and
     3    being assisted today with an interpreter.
     4               THE COURT: All right. Would you swear the
     5    interpreter in, please.
     6               THE CASE MANAGER: Do you solemnly swear that you
     7    interpret accurate and completely from the Arabic language to
     8    the English language and English into Arabic using your best
     9    skill and judgment?
   10                THE INTERPRETER: I do.
   11                MR. DENSEMO: Would the Court mind having
   12     Mr. Ramadan's wrists unshackled so he can take notes during
   13     the hearing?
   14                THE COURT: No, they may be unshackled.
   15                MR. DENSEMO: Thank you, Judge.
   16                THE COURT: Okay. All right. We have a number of
   17     motions to deal with, the first being the request -- well, it
   18     has to do with the order to dismiss.
   19                MR. DENSEMO: Your Honor, at the hearing on
   20     April 18th of this year I believe, the Court ordered the
   21     government to provide the defense with certain discovery
   22     items. Most importantly, the Court ordered the government to
   23     turn over Giglio materials regarding Special Agent
   24     Michael Thomas. We waited for the government to turn those
   25     materials over. They did not. I sent a letter, which I


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     1    attached to my motion, to the government asking that they
     2    comply with the Court's order. The government did not
     3    provide the information, especially the Giglio materials that
     4    we had requested and that the Court had ordered. The
     5    government did not provide us in a timely fashion even the
     6    simplest of information regarding the agencies that the named
     7    officers worked for. They did eventually supply that
     8    information about I think the middle of last week. They
     9    still have not provided any information -- any Giglio
   10     materials regarding Special Agent Thomas.
   11                The Court also ordered the government to respond to
   12     our motion to dismiss, and the Court ordered them to file a
   13     response by August 14th. The government disregarded the
   14     Court's order in terms of filing a response as to why it had
   15     not complied with the Court's order, why the motions -- why
   16     defense's motions should not be granted.
   17                So the government -- the only thing the government
   18     has done is supplied us with a short letter saying that --
   19     about three -- telling us what agencies certain officers work
   20     for. They sent us a one-line sentence saying that they don't
   21     have any information regarding the CBP retention policies for
   22     agent's notes and things of that nature.
   23                The government, Your Honor, has at every available
   24     opportunity it seems drug its feet in providing even the
   25     simplest of discovery.


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     1               The government then files a motion for a protective
     2    order. The U.S. Attorney calls and asked me if I will
     3    stipulate to the protective order. I indicate I have no idea
     4    why you need a protective order so, no, I do not agree to a
     5    protective order. I don't see the necessity in a protective
     6    order if, in fact, we are asking for public information about
     7    a public employee during -- undergoing his public duties, but
     8    that's another issue we will deal with.
     9               But at this point, Your Honor, I think the case
   10     should be dismissed with prejudice not only because the
   11     government failed to comply -- failed to provide discovery as
   12     ordered, but the government disregarded this Court's order to
   13     file a response to our motion. That's inexplicable. I can
   14     see the government saying to me, Andrew Densemo, we can --
   15     you are not going to do anything, you don't have any power if
   16     we seek to not do anything or not give you what you are
   17     entitled to. But for this Court to -- for the
   18     U.S. Attorney's Office to not even file a response as ordered
   19     by the Court explaining why our motion should not be granted
   20     is inexcusable.
   21                I don't know what the Court's response would be to
   22     that, but I -- I can't imagine a situation where a federal
   23     judge tells the U.S. Attorney's Office to respond to the
   24     defendant's motion and respond to it by a certain date, and
   25     the Court said the prosecution shall file a response. The


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     1    Court didn't say if you feel like it file a response,
     2    U.S. Attorney. The Court told the U.S. Attorney's Office to
     3    file a response to this motion and do it by August [sic]
     4    14th, they didn't do it, still haven't filed anything. And I
     5    think at this point, Your Honor, the Court should dismiss
     6    this case with prejudice given everything that the Court has
     7    seen, all the motions that have been filed. I think this is
     8    just more of the same for the U.S. Attorney's Office, and I
     9    think the Court should put an end to it.
   10                THE COURT: Mr. Martin?
   11                MR. MARTIN: Your Honor, by way of background, at
   12     the last hearing the Court ordered the government to provide
   13     the defense with three items. The first was the Court
   14     ordered that the government look in to see if the Custom and
   15     Border Protection had a written policy on retention of notes
   16     during a secondary customs inspection. You asked for the
   17     government to provide the defense the agency that certain
   18     federal law enforcement employees work for that the defense
   19     would identify for the government, and then you asked us to
   20     provide the defense with the official discipline for FBI
   21     Special Agent Michael Thomas.
   22                And at the time of that hearing I indicated to the
   23     Court that particularly finding Special Agent Michael Thomas'
   24     discipline record might take some time because we wanted to
   25     be very thorough in that, and it is not simply a case of just


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     1    contacting the local FBI office. We wanted to do a broad
     2    search, and so it did take some time, but we did compile the
     3    materials that the Court requested. There was no written
     4    policy by the Customs and Border Protection regarding
     5    retention of notes.
     6               The defense did provide us with a list of names of
     7    individuals that they wanted to know which agency they worked
     8    for. Incidentally, all of those individuals either testified
     9    in the government's case in chief at the suppression hearing
   10     or were identified during the testimony, so why they needed
   11     to learn again what agency these people worked for when it
   12     was already known to them is not clear to me, but that was
   13     the list of names they provided us, and so we sent them a
   14     letter that said there is no CBP policy, and here are the
   15     agencies that these individuals work for. And then we said
   16     we have the official discipline for Special Agent Thomas but
   17     we would like you to agree to a protective order, which
   18     generally is our office's practice when it comes to
   19     discipline matters regarding agents, we accompany that
   20     disclosure with a protective order. And the protective order
   21     is not particularly onerous on the defense, it essentially
   22     asked them to treat the information as confidential. They
   23     are allowed to share with members of their staff, other
   24     attorneys working on the case, you know, anybody who has a
   25     need to know about it in their office in order for them to


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     1    work on the case. It asks them not to disclose it beyond
     2    that, so people not involved in the case or members of the
     3    public or what have you, and then it asks for when the case
     4    is concluded to return the disciplinary record information
     5    back to the government. They can refer did it in court, they
     6    can question the witness about it. It is not like a gag
     7    order or something like that. So it is a rather narrow
     8    protective order. I have seen much more thorough protective
     9    orders.
   10                The defense wouldn't agree to that, so we filed a
   11     motion with Your Honor requesting that protective order, so
   12     that motion is pending before you, and we have not given over
   13     yet pending the resolution of protective order the
   14     disciplinary information about Special Agent Michael Thomas.
   15     I can tell you the disclosure we have prepared is very brief,
   16     so --
   17                THE COURT: May I see your disclosure, please?
   18                MR. MARTIN: Yes, Your Honor.
   19                THE COURT: Okay. Thank you.
   20                MR. MARTIN: Do you want me to retrieve that, Your
   21     Honor?
   22                THE COURT: Yes. Do you in every case have a
   23     protective order with personnel issues like this?
   24                MR. MARTIN: That's my practice, yes, yes. I can't
   25     speak for every assistant United States Attorney in our


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     1     office but, yes, generally that is our practice.
     2                THE COURT: But this will be gone over in open
     3     court so it does become a public record.
     4                MR. MARTIN: Yes, it does, and so we are trying to
     5     walk a fine line in that we want to provide protection for
     6     the employee because the information, you know, is -- goes to
     7     their personnel record. On the other hand, we have to have
     8     open court proceedings, and we don't want to close a
     9     courtroom, that's a high standard to meet, and we don't think
    10     that would be appropriate in this case, so we are trying to
    11     strike a balance and that's what the protective order is
    12     intended to do.
    13                THE COURT: All right.
    14                MR. MARTIN: I do want to respond to Mr. Densemo's
    15     allegation that the government deliberately did not respond
    16     to the Court's order.
    17                The -- I think Mr. Densemo is confused. The order
    18     from the Court that he's alleging was an order for the
    19     government to respond to their motion to dismiss was, in
    20     fact, not that; it was an order from the Court for the
    21     defense to respond to the government's motion for protective
    22     order. Then last week on Monday a docket entry appeared
    23     ordering the government to respond to the defendant's motion
    24     to dismiss that same day. So at 3:00 there was an order
    25     entered by the Court requiring the government to respond to


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     1     their motion to dismiss that day. Both Mr. Waterstreet and
     2     I, because we learned about it at different times, contacted
     3     the Court's staff, and we were told that was entered in
     4     error.
     5                So when you go back and look at the first order of
     6     the Court that Mr. Densemo is referring to, the entry on ECF
     7     is very clear, it directs the defense to respond to the
     8     government's motion for protective order and it identifies
     9     the protective order document number. And then when you
    10     click on the actual order from the Court, the order itself,
    11     there was a slight typographical error in the order because
    12     the order itself says that the government should respond to
    13     motion for protective order document number what have you,
    14     and I can't remember it off the top of my head, by
    15     August 14th.
    16                THE COURT: Meaning the government should respond
    17     to its own order?
    18                MR. MARTIN: Correct, but the actual entry on ECF
    19     was clear, and so Mr. Waterstreet and I just interpreted that
    20     as the Court's ordering the defense to respond to the motion
    21     for protective order. And I've practiced before Your Honor a
    22     long time, and I have never seen you enter an order requiring
    23     a response -- enter an order at 3:00 requiring a response at
    24     5:00 that same day, so that's why we called chambers and
    25     received that information. So it was not a deliberate


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     1     attempt by the government to ignore court orders.
     2                THE COURT: Okay. Response? One thing I can say
     3     is I can guarantee you is I did not enter an order to be
     4     responded to in two hours deliberately. I'm not saying there
     5     isn't an error, it certainly can happen. Okay. Mr. Densemo.
     6                MR. DENSEMO: Your Honor, I looked at the order
     7     that was issued prior to August 14th. There was some --
     8     there was a difference in the language of the order. The
     9     order directed the government to respond to Mr. Ramadan's
    10     motion, but it said the motion was the protective order.
    11     Clearly the government knew the Court wasn't ordering it to
    12     respond to its own protective order. The Court was ordering
    13     the government to respond to the defense's motion to dismiss.
    14                THE COURT: Okay. Let me end this because it is
    15     all I think rather sample. First of all, there was the order
    16     for the discovery so we know that the written -- you got a
    17     letter which responded to the written policy; is that
    18     correct?
    19                MR. DENSEMO: We got --
    20                THE COURT: That there is no written policy.
    21                MR. DENSEMO: That's correct, Your Honor.
    22                THE COURT: And you got a -- you received in a
    23     letter also the agencies that the individuals work for; is
    24     that correct?
    25                MR. DENSEMO: That's correct.


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     1                THE COURT: All right. And what you did not
     2     receive was the discipline of Special Agent Michael Thomas;
     3     is that correct?
     4                MR. DENSEMO: That's correct.
     5                THE COURT: And that brings in the protective
     6     order, so -- right?
     7                MR. DENSEMO: Pardon?
     8                THE COURT: The government is saying we would give
     9     it to you if you sign this protective order?
    10                MR. DENSEMO: They never said that to me, never.
    11     They called me and said will you sign a protective order.
    12     They never said we will give it to you if you sign a
    13     protective order.
    14                THE COURT: Well, isn't that ridiculous? Why would
    15     you sign a protective order -- I mean, that's the nature of
    16     it. You sign a protective order and you get what you agree
    17     to protect.
    18                MR. DENSEMO: They didn't identify what the nature
    19     of the protective order was about. Judge, here is the most
    20     important thing --
    21                THE COURT: What is that?
    22                MR. DENSEMO: They had the information eight months
    23     ago. They knew that -- if they were going to seek a
    24     protective order, they could have contacted me eight months
    25     ago with this information and I would have said yes at that


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     1     time. If they had fully disclosed this information to me, if
     2     they had disclosed it to Mr. Ramadan eight months when they
     3     knew all of this, and they said -- if they had come to me and
     4     said, Andrew, we have some information -- some Giglio
     5     material regarding Special Agent Thomas, we want a protective
     6     order filed under these conditions, at that time I would have
     7     said yes --
     8                THE COURT: Okay.
     9                MR. DENSEMO: -- because I had a history with both
    10     Ron Waterstreet and Michael Martin. This is -- the way that
    11     this case has played out and withholding information for
    12     eight months when I -- we should have been given that
    13     information eight months ago, the government's call to me or
    14     e-mail to me was will you sign a protective order? Regarding
    15     what? About what? Why? None of that was explained.
    16                THE COURT: What was eight months ago? I'm sorry.
    17     I don't recall.
    18                MR. DENSEMO: They -- the government --
    19     Michael Thomas has been a part of this investigation since
    20     August 15th. Michael -- the information about Michael Thomas
    21     has been in the possession of the government for about a year
    22     now. They have known all of this for a year. They have
    23     known that he was involved in the Koubriti case. They knew
    24     about his history with the Koubriti case. They knew about
    25     his history of any disciplinary proceedings that had taken


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     1     place regarding Michael Thomas. The government knew all of
     2     this a year ago, Your Honor, and they did not -- and you are
     3     just dealing with this one year into this case when this
     4     should have been dealt with. The government knew it had a
     5     Giglio obligation a year ago, but it took them a year for all
     6     of this to come to light for this Court to have to deal with
     7     this. This should have been an issue we were dealing with a
     8     year ago.
     9                 THE COURT: Okay. Thank you. Response?
    10                 MR. MARTIN: I think this is a slightly different
    11     argument now. So this gets back to Mr. Densemo's, I guess,
    12     claim that the government has a Giglio obligation to provide
    13     him with impeachment material.
    14                 THE COURT: When does Giglio come into play?
    15                 MR. MARTIN: Not until trial, Your Honor, which
    16     is -- we have --
    17                 THE COURT: That was my understanding. Are there
    18     exceptions to that?
    19                 MR. MARTIN: No, no. We have briefed this now
    20     extensively to the Court, we had an argument about it last
    21     time. It is the government's position that Giglio is a
    22     constitutional requirement for the government to provide the
    23     defense with impeachment evidence that can be used in the
    24     guilt phase of the proceedings at the trial. It does not
    25     apply to suppression hearings, and it certainly does not


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     1     apply to witnesses that are either not called or witnesses
     2     called by the defense. And eight months ago, before he even
     3     filed his motion to suppress, how would we know what
     4     witnesses were going to be called at a suppression hearing or
     5     trial? I mean, it's --
     6                THE COURT: All right. All right. I'm ready to
     7     rule on this. The Court finds that the government has
     8     responded to two of the three issues that the Court ordered.
     9     The third has to do with Special Agent Michael Thomas. The
    10     Court has reviewed the protective order. At this point I
    11     will enter the protective order, and you may return the
    12     document which you showed the Court.
    13                Let me ask you this question though to be sure. Is
    14     this the only item that you have as to this agent?
    15                MR. MARTIN: Yes, Your Honor, yes.
    16                THE COURT: All right. Thank you. I am going to
    17     order it turned over, although, again, my understanding of
    18     Giglio is it does not need to be done at this point, but
    19     there does not seem to be any reason not to do it to clarify
    20     this matter and so that we may proceed. The motion to
    21     dismiss is denied.
    22                MR. MARTIN: Thank you, Your Honor. Just for the
    23     record, I'm now handing that letter to Ms. Fitzharris.
    24                THE COURT: All right. We will proceed now with
    25     the evidentiary hearing.


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     1                MR. MARTIN: Yes, if I may discuss that for a
     2     moment.
     3                THE COURT: Yes.
     4                MR. MARTIN: So to remind the Court where we are
     5     at, the government has rested its presentation, we don't
     6     intend to call any further witnesses. The defense had
     7     indicated they would like Special Agent Thomas and
     8     Officer Brown to testify in their case in chief.
     9                THE COURT: Correct.
    10                MR. MARTIN: Both are here. We also have
    11     CBP Officer Matthew Robinson, and as you made recall,
    12     Officer Robinson testified I believe back in January,
    13     completed his testimony, but during the course of his
    14     testimony said that he had written a report. The defense
    15     asked for that report. We provided it shortly after the
    16     hearing. They moved to strike his entire testimony. You
    17     denied that, but said as a remedy we will have
    18     Officer Robinson come back. I'm raising that now --
    19                THE COURT: I allowed them the opportunity if they
    20     wished to.
    21                MR. MARTIN: Correct. In my view,
    22     Officer Robinson's now cross-examination should be relatively
    23     short. It's not an opportunity to redo the entire
    24     cross-examination that took place. We are now here because
    25     they want an opportunity to supposedly impeach him with his


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     1     report. It should be fairly limited testimony. And I just
     2     want to flag for the Court because I don't want to see that
     3     turn -- this turn into, you know, a redoing the testimony of
     4     a witness that was on the stand for a good chunk of time back
     5     in January.
     6                 THE COURT: All right. As I understand it, and
     7     Mr. Densemo or Ms. Fitzharris, you are going to examine him
     8     as to the document that you have -- the notes you have now
     9     received; is that correct?
    10                 MS. FITZHARRIS: That's correct, and the e-mails
    11     that were also not provided until after he testified.
    12                 I have a couple things, very quick things for the
    13     Court for the record. Very briefly, back on the issue of
    14     disclosure, particularly the agencies, they were not
    15     disclosed until the middle of the week last week.
    16                 THE COURT: Wait a minute. No, no.
    17                 MS. FITZHARRIS: May I just please put this on the
    18     record?
    19                 THE COURT: Stop. Let me just say this. We
    20     already have had it all on the record, the dates, when they
    21     were disclosed, which you didn't have. I don't think we need
    22     to go into it again. If you want to make a special record I
    23     will allow you to do that after we take our witnesses so we
    24     don't keep people here longer. But you can make a special
    25     record --


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     1                MS. FITZHARRIS: Okay.
     2                THE COURT: I mean, you may do it on anything you
     3     like but it would be after we finish our witnesses.
     4                MS. FITZHARRIS: Okay. Thank you. Fine.
     5                On the other -- the other issue is, you know,
     6     Mr. Martin mentions they are -- Agent Thomas and Officer
     7     Brown are our witnesses, and this is the result of, as you
     8     know, a lot of maneuvering.
     9                We are asking the Court to allow us to treat them
    10     as adverse witnesses under Rule of Evidence 11 -- 6.11(c)(2);
    11     a hostile witness includes a witness identified with an
    12     adverse party. The United States government is an adverse
    13     party to Mr. Ramadan. The Customs and Border Patrol agents,
    14     the Federal Bureau of Investigations, these are all law
    15     enforcement bodies of the United States government, and their
    16     interest because they are involved in the investigation of
    17     Mr. Ramadan are aligned with the prosecution and not with
    18     Mr. Ramadan.
    19                THE COURT: Okay.
    20                MS. FITZHARRIS: So we ask for the ability to
    21     cross-examine both of them.
    22                THE COURT: You may.
    23                MS. FITZHARRIS: The final issue is, you know, this
    24     case -- these motions have been pending for some time. I
    25     filed my first brief in October of 2017. Since then, there's


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     1     been a lot of activity in other courts of appeals on the
     2     issue of searches of digital devices at the border. A
     3     handful of courts of appeals have weighed in as has a number
     4     of district courts, and so I just ask the Court to think
     5     about how you would like to proceed. I suggest that -- I
     6     know there has been a lot of briefing in this case, but I
     7     suggest that supplemental briefing may be in order to kind of
     8     get the Court up to date on all the developments in the law
     9     that has happened since October.
    10                THE COURT: My law clerk has advised me of various
    11     cases on this particular issue, so I will allow you to
    12     supplement it but we will do it all at end because I'm going
    13     to do one opinion on this.
    14                MS. FITZHARRIS: I understand. I just wanted to
    15     raise it for the Court.
    16                THE COURT: Yes. Thank you. All right. Your
    17     witness.
    18                MS. FITZHARRIS: Officer Robinson,
    19     Matthew Robinson.
    20                THE COURT: Officer Robinson.
    21                MR. MARTIN: He's in a room right outside of the
    22     courtroom, Your Honor.
    23                THE COURT: All right.
    24                MR. MARTIN: So we are getting him.
    25                THE COURT REPORTER: Would you please raise your


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     1     right hand.
     2                Do you solemnly swear or affirm that the testimony
     3     you are about to give this Court will be the truth, the whole
     4     truth, and nothing but the truth, so help you God?
     5                OFFICER ROBINSON: I do.
     6                THE COURT: Officer, if you would pull that
     7     microphone towards you. Thank you. I'm not quite sure how
     8     it works in this courtroom because I haven't used it before.
     9                OFFICER ROBINSON: All right.
    10                THE COURT: So we will see.
    11                          OFFICER MATTHEW ROBINSON,
    12     called at about 10:59 a.m., was examined and testified on his
    13     oath as follows:
    14                               DIRECT EXAMINATION
    15     BY MS. FITZHARRIS:
    16     Q.   Good morning, Officer Robinson.
    17     A.   Good morning.
    18     Q.   After you -- after you interacted with Mr. Ramadan at
    19     the airport, you wrote a report, right?
    20     A.   Correct.
    21     Q.   And you wrote it on August 15th?
    22     A.   It was while I was there overnight, past midnight, so
    23     the report was started on the 15th and I think wasn't
    24     completed technically.
    25     Q.   Okay. So you finished on August 16th?


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     1     A.   Yeah -- well, the report was never completely finished.
     2     I went on days off -- after the 15th I was off for some days,
     3     so it was never finished.
     4     Q.   Did you add to it after August 16th?
     5     A.   No. When I came back from my days off the report I had
     6     found out was canceled, they changed the seizure into a
     7     detention.
     8     Q.   Okay. But you wrote it shortly after you interacted --
     9     you interacted with Mr. Ramadan?
    10     A.   Correct.
    11     Q.   And as part of your training, you are trained on how to
    12     write reports?
    13     A.   They go over some stuff with us.
    14     Q.   And you are supposed to be detailed?
    15     A.   Yeah, depending on what we were writing.
    16     Q.   And sometimes your reports are used in future
    17     prosecutions?
    18     A.   I suppose they might be.
    19     Q.   So you want to be accurate?
    20     A.   As much as possible.
    21     Q.   And thorough?
    22     A.   True.
    23     Q.   And you want to include information that might be
    24     relevant for future prosecutions?
    25     A.   Well, I generally include information that is relevant


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     1     to what was going on at the time.
     2     Q.   Okay. But sometimes -- like you said, sometimes it's
     3     used in future prosecutions so if you think it is relevant
     4     for a future prosecution you would include it, right?
     5     A.   I suppose.
     6     Q.   All right. Last time you were here you talked about a
     7     conversation that you had with Mr. Ramadan right before he
     8     entered the plane; is that correct? Do you remember that?
     9     A.   I spoke with him twice, if I recall.
    10     Q.   Right, but one time before he entered the jetway?
    11     A.   Right at the door of the jetway and then once right
    12     outside of the plane.
    13     Q.   And that's when you checked his passport?
    14     A.   I checked his passport at the door to the jetway.
    15     Q.   And last time -- and last time you were here you said
    16     that you thought that there was some things that struck you
    17     about Mr. Ramadan as unusual?
    18     A.   Yeah, it was the number of carryon bags that he had.
    19     Q.   You also mentioned the amount of money that he said that
    20     he had?
    21     A.   He, I believe, said he had $3,000.
    22     Q.   But that you said was unusual last time you were here?
    23     A.   Well, it is unusual if you are moving to another country
    24     or going for an extended period of time with, you know,
    25     family.


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     1     Q.   My question is last time you were here you thought the
     2     amount of money was unusual?
     3     A.   Well, given the circumstances.
     4     Q.   When you said -- I'm just asking about what you said
     5     last time. Okay. Last time you were here that's what you
     6     said?
     7     A.   That $3,000 is unusual?
     8     Q.   Yes.
     9     A.   Okay. I suppose.
    10     Q.   Did you go over your testimony from the last time you
    11     were here before you came back today?
    12     A.   I did review it, yes.
    13     Q.   Okay. So you don't have any reason to disagree with me
    14     that you said the amount of currency was unusual?
    15     A.   Okay.
    16     Q.   Okay. And you also said that you thought it was unusual
    17     that he did not plan to return to the United States?
    18     A.   Well, he said he was moving to Palestine so --
    19     Q.   Okay. But last time you were here you said that was
    20     unusual?
    21     A.   To only have $3,000 if you are moving away.
    22     Q.   The last time you were here you said that you thought it
    23     was unusual that he planned an indefinite trip to Palestine?
    24     Yes or no.
    25     A.   I don't believe I said that.


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     1     Q.   You don't believe you said that. Okay. You thought --
     2     on page 602 of the transcript you said that you thought it
     3     was --
     4                 MR. WATERSTREET: Can we show him first, Your
     5     Honor? I think proper impeachment is to show it to them, ask
     6     them if they remember that, it refreshes their memory, and
     7     then perhaps then question them.
     8                 THE COURT: You may ask him the question but show
     9     him the transcript.
    10                 MS. FITZHARRIS: Okay.
    11                 THE COURT: If he has a copy so we don't have to go
    12     back and forth.
    13     BY MS. FITZHARRIS:
    14     Q.   But in your report you did not mention the amount of
    15     money Mr. Ramadan said he had?
    16     A.   I don't believe so.
    17     Q.   In your report you did not mention that you thought it
    18     was unusual that he did not plan to return to the
    19     United States?
    20     A.   For the report as it was written for the OFAC items
    21     those wouldn't be relevant.
    22     Q.   The report that -- you wrote a report, yes?
    23     A.   Yes.
    24     Q.   And you did not include any statement about the amount
    25     of currency being unusual?


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     1     A.     No.
     2     Q.     Last time you testified you also mentioned a 2010 HSI
     3     tip.
     4     A.     Yes, there was some sort of record.
     5     Q.     And at the time you testified, you thought it had to do
     6     with marriage fraud?
     7     A.     I believe I said it was recruitment or marriage fraud of
     8     some sort.
     9     Q.     Okay. But when you wrote your report you did not
    10     mention the 2010 tip?
    11     A.     No.
    12     Q.     All right. Last time you testified you were asked about
    13     what time you took the photos of Mr. Ramadan's luggage, and
    14     at that time you couldn't remember. Do you remember now what
    15     time you took those photos?
    16     A.     No. It would have been after we brought him downstairs
    17     to the federal inspection area.
    18     Q.     Is there anything that would help refresh your
    19     recollection about what time you sent the photos of those
    20     luggage items to Officer Schmeltz?
    21     A.     The photos were sent I believe around 10:00 or
    22     11:00 p.m.
    23                  MS. FITZHARRIS: Okay. I am -- Your Honor,
    24     permission to approach, Your Honor?
    25                  THE COURT: Pardon me?


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     1                MS. FITZHARRIS: Permission to approach the
     2     witness, Your Honor?
     3                THE COURT: You don't have to ask for permission.
     4     If you have something to show him, just show it to him.
     5                MS. FITZHARRIS: Okay.
     6     BY MS. FITZHARRIS:
     7     Q.   Officer Robinson, I have handed you what has been marked
     8     as Defendant's Exhibit B. Do you recognize the -- those
     9     documents?
    10     A.   It looks like it is just an e-mail header from the
    11     cellphone for the e-mails that were sent to Officer Schmeltz.
    12     Q.   Okay. And were those -- those e-mails had attachments
    13     to them at the time?
    14     A.   They did.
    15     Q.   And on those e-mails there are time stamps?
    16     A.   There is, correct.
    17     Q.   And you were sending the e-mails?
    18     A.   I believe I sent them or another officer may have taken
    19     the phone and sent them.
    20     Q.   Okay. And they were sent to Officer Schmeltz?
    21     A.   Correct.
    22                MS. FITZHARRIS: Your Honor, at this point I move
    23     to admit Exhibit B -- Defendant's Exhibit B.
    24                THE COURT: Any objection?
    25                MR. WATERSTREET: No objection.


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     1                THE COURT: It may be received.
     2                (Defendant's Exhibit B received into evidence.)
     3     BY MS. FITZHARRIS:
     4     Q.   And the first photo that someone sent to
     5     Officer Schmeltz was sent at 10:51 p.m.?
     6     A.   The first e-mail was sent at 10:51.
     7     Q.   And that e-mail had a photograph attached to it?
     8     A.   I believe it did, yes.
     9     Q.   And the last e-mail with an attachment was sent at
    10     11:07 p.m.?
    11     A.   Yes, according to this.
    12                MS. FITZHARRIS: No further questions.
    13                THE COURT: All right.
    14                MR. DENSEMO: One second, Your Honor.
    15                (An off-the-record discussion was held at
    16                11:07 a.m.)
    17                MS. FITZHARRIS: Sorry. Very quickly. Sorry. I'm
    18     going to point out page 602.
    19     BY MS. FITZHARRIS:
    20     Q.   Officer Robinson, I have handed you a copy of the
    21     transcript of your testimony last time. And you said earlier
    22     that you couldn't remember what you said about things being
    23     unusual, right?
    24     A.   Yeah, I guess.
    25     Q.   Okay. So if you take a moment would looking through


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     1     your prior testimony help refresh your recollection of what
     2     you said before?
     3     A.   I can look at it, yeah.
     4     Q.   Okay. For ease I suggest you look at pages 600 to 602.
     5     A.   We are looking at the page ID at the top, right?
     6     Q.   Yeah, it is at the top, the top runner, yep.
     7     A.   You want me to review this now?
     8     Q.   Just let me know when your memory is refreshed about
     9     what you said last time.
    10     A.   Okay.
    11     Q.   Okay. So last time you said that you thought there was
    12     some unusual things about Mr. Ramadan, right?
    13     A.   Correct.
    14     Q.   They were that he had excessive bags?
    15     A.   Yes.
    16     Q.   That you thought it was unusual that he didn't have
    17     plans to return to the United States?
    18     A.   That he was on a one-way ticket, yes.
    19     Q.   And that you thought the amount of money that he said he
    20     had seemed small for the length of his travel?
    21     A.   Correct.
    22     Q.   And you did not mention those three things in your
    23     report?
    24     A.   No.
    25                 MS. FITZHARRIS: No further questions.


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     1                THE COURT: Thank you,
     2     A.   I believe in my report I did mention that he said that
     3     he was moving to Palenstine.
     4     BY MS. FITZHARRIS:
     5     Q.   But you did not say that you thought it was unusual?
     6     A.   No.
     7                MS. FITZHARRIS: Thank you.
     8                THE COURT: Mr. Waterstreet?
     9                MR. WATERSTREET: One quick line of questioning.
    10     Thank you.
    11                               CROSS-EXAMINATION
    12     BY MR. WATERSTREET:
    13     Q.   Officer Robinson, what is a seizure report?
    14     A.   It is a report that we do for any type of items that are
    15     seized that would be sent down to the fines, penalties and
    16     forfeiture office to give the subject or the person an
    17     opportunity to petition of government for relief for those
    18     items.
    19     Q.   So what items were being seized for fine or forfeiture?
    20     A.   That would have been the OFAC items.
    21     Q.   And the OFAC items were the items that it would be
    22     illegal to take out of the United States without proper
    23     documentation?
    24     A.   Without proper licensing, yes.
    25     Q.   That included the body armor?


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     1     A.    The body armor and the taser.
     2     Q.    The taser and the gun scope?
     3     A.    Yes, the scopes as well, yes.
     4     Q.    And so the fact that he is going out of the country is
     5     important, correct?
     6     A.    Correct.
     7     Q.    And you put that in your report?
     8     A.    Yes.
     9     Q.    But how much money he had, how is that important to
    10     whether he had a license for a body armor?
    11     A.    It wouldn't be.
    12     Q.    Okay. And so you said -- you're particular as to what
    13     reports you are writing for, and you were writing for fines,
    14     penalties or forfeitures of the OFAC items.
    15     A.    Correct.
    16     Q.    This is not a report of the interview of --
    17                  MS. FITZHARRIS: Objection; leading.
    18                  MR. WATERSTREET: Yes, it is, it is their witness.
    19                  THE COURT: Cross. Overruled.
    20     BY MR. WATERSTREET:
    21     Q.    This is not a report that was written by you as a
    22     memorization of every dealing you had with Mr. Ramadan, was
    23     it?
    24     A.    Correct.
    25     Q.    This was just a seizure report?


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     1     A.   Right. It would be just the items that were being
     2     seized, to report on those items.
     3     Q.   Okay. And you said eventually that report was canceled.
     4     Why was that?
     5     A.   I believe the evidence was turned over to HSI. They did
     6     a detention on the items. The items, when they are seized,
     7     other than currency or narcotics, has to have a tariff number
     8     assigned to it. As I said I was off for those days, so they
     9     were waiting to get the tariff numbers. Seizures can only
    10     stay at the port for a certain amount of time before they
    11     have to be sent down to the downtown office here to be
    12     processed. So in that period of time I think the local
    13     managers or my supervisor or somebody determined we can just
    14     switch it over to detention rather than waiting, and turn the
    15     items over to HSI for their further investigation.
    16     Q.   And somebody else decided to cancel your report then?
    17     A.   Correct.
    18                 MR. WATERSTREET: Okay. Thank you.
    19                             REDIRECT EXAMINATION
    20     BY MS. FITZHARRIS:
    21     Q.   The report you wrote included some information about the
    22     results of media scan, right?
    23     A.   Yes.
    24     Q.   And that didn't have anything to do with the OFAC
    25     controlled items?


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     1     A.   No.
     2     Q.   One last thing. You turned Mr. Ramadan over to
     3     Officer Schmeltz and Armentrout at 9:00 p.m. on August 15th?
     4     A.   Approximately. It was -- essentially once we got down
     5     to the federal area --
     6     Q.   Uh-huh.
     7     A.   -- we separate the luggage -- we kind of separate. Him
     8     and his family went in to talk to Officers Schmeltz and
     9     Officer Armentrout, and we began working on locating the bags
    10     and searching through the bags.
    11     Q.   And that was around 9:00 p.m.?
    12     A.   Around 9:00 p.m.
    13                THE COURT: All right. Thank you. You may step
    14     down, sir.
    15     A.   Thank you.
    16                (Witness excused at 11:15 a.m.)
    17                THE COURT: Your next witness?
    18                MR. DENSEMO: Michael Thomas.
    19                THE COURT REPORTER: Would you please raise your
    20     right hand.
    21                Do you solemnly swear or affirm that the testimony
    22     you are about to give this Court will be the truth, the whole
    23     truth, and nothing but the truth, so help you God?
    24                AGENT THOMAS: I do.
    25


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     1                            AGENT MICHAEL THOMAS,
     2     called at about 11:16 a.m., was examined and testified on his
     3     oath as follows:
     4                              DIRECT EXAMINATION
     5     BY MR. DENSEMO:
     6     Q.   Good morning, Agent Thomas. How are you?
     7     A.   Fine, sir. Thank you.
     8     Q.   State your full name for the record, please.
     9     A.   Michael J. Thomas.
    10     Q.   And how are you employed, Agent Thomas?
    11     A.   Sir, currently employed as a special agent with the
    12     Federal Bureau of Investigations.
    13     Q.   How long have you been an FBI agent?
    14     A.   Approximately 21 years.
    15     Q.   Did you do -- were you a law enforcement officer before
    16     you were an FBI agent?
    17     A.   I was a military officer, and I had served as a military
    18     police officer prior to that.
    19     Q.   Okay. How long were you a military police officer?
    20     A.   For two years, sir.
    21     Q.   So you have been in law enforcement probably the
    22     majority of -- probably all of your adult life?
    23     A.   With the exception of being an ordinance military
    24     officer, yes, sir. I was an ordinance military officer for
    25     seven years.


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     1     Q.     Okay. And you began with the FBI in what year?
     2     A.     June of 1997.
     3     Q.     And August 15th, 2017, what were your duties with the
     4     FBI?
     5     A.     I was assigned to JTFF, Joint Terrorism Task Force, with
     6     the airport as the airport liaison FBI agent.
     7     Q.     JTFF, airport. And how long have you been with the
     8     Joint Terrorism Task Force?
     9     A.     Approximately eight, nine years.
    10     Q.     On August 15th, 2017, were you working with -- you still
    11     working in that capacity with the Joint Terrorism Task Force?
    12     A.     Yes, sir.
    13     Q.     And on August 15th, 2017, did you receive a call with
    14     some information about a Yousef Ramadan?
    15     A.     Yes, sir.
    16     Q.     Who contacted you about Mr. Ramadan?
    17     A.     CBP, sir. I'm not sure exactly which officer. It might
    18     have been Supervisor Stiggerwalt. I'm not sure exactly who
    19     -- somebody from CBP contacted me.
    20     Q.     So it could have been Stiggerwalt?
    21     A.     That's possible yes, sir.
    22     Q.     What did Stiggerwalt tell you?
    23     A.     Again, I'm not sure it was Stiggerwalt.
    24     Q.     What did the CBP officer want, why was he contacting
    25     you?


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     1     A.   That they had -- TSA had contacted them and they -- that
     2     they found some -- TSA had found some bulletproof vests on an
     3     X-ray, I believe, and that they contacted CBP. /CBP
     4     responded and then recovered some luggage, and during the
     5     course of the inspection of luggage they found some export
     6     violations and also some military -- dual-use military
     7     equipment that they had concerned with.
     8     Q.   What kind of concerns? Concerns that involved your
     9     expertise?
    10     A.   Correct.
    11     Q.   As a counterterrorism task force agent?
    12     A.   Well, they just -- they felt I should be aware of what
    13     was going on.
    14     Q.   Okay. You were an FBI agent assigned to the Joint
    15     Terrorism Task Force?
    16     A.   That is correct.
    17     Q.   And they contacted you?
    18     A.   Yes, sir. They routinely do with all matters like that.
    19     Q.   Okay. And they weren't contacting you for a traffic
    20     violation or anything like that, were they?
    21     A.   No, sir.
    22     Q.   They contacted you because you were working in a certain
    23     capacity?
    24     A.   As the airport liaison with the FBI, yes, sir.
    25     Q.   With the Joint Terrorism Task Force?


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     1     A.   That's correct, sir.
     2     Q.   Alright. And they had some concerns that this -- what
     3     they were looking at may involve your area of expertise,
     4     that's why they contacted you; is that correct?
     5     A.   They weren't sure. They -- just like I said, they just
     6     wanted me to come out and take a look at it.
     7     Q.   They have some concerns so they asked you to come and
     8     take a look; is that correct?
     9     A.   That's correct, yes, sir.
    10     Q.   And were you given any information about Mr. Ramadan --
    11     or what information were you given about Mr. Ramadan?
    12     A.   Initially I believe that they had advised that he was
    13     traveling with his family, and that was really about it.
    14     Q.   Were you contacted by CBP Agent James Brown?
    15     A.   Yes.
    16     Q.   Did he call you or did he send you a text message?
    17     A.   I believe I called him after receiving a text message
    18     from him.
    19     Q.   Okay.
    20     A.   Or he may have called me, but either way I did remember
    21     speaking with him telephonically.
    22                 MR. DENSEMO: May I, Your Honor?
    23     BY MR. DENSEMO:
    24     Q.   Is it fair to say you are having some difficulty
    25     remembering who called who first or who texted who first?


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     1     A.   I just don't recall.
     2     Q.   Okay. Take a look at this text message and see if that
     3     refreshes your recollection as to when you exchanged text
     4     messages between yourself and CBP Officer James Brown. Do
     5     you recall?
     6     A.   I don't recall this specific text but I see it. It has
     7     got my name on it, yes.
     8     Q.   You said -- so you don't recall when -- exactly when you
     9     received this text message from --
    10     A.   I don't recall receiving that text message but I can see
    11     that it came to my phone at 9:17 but I do not recall that.
    12     Q.   It came in at what time?
    13     A.   I believe it said 9:17 there.
    14     Q.   Alright.
    15     A.   9:17 p.m.
    16     Q.   9:17 p.m. you received a text message from CBP Officer
    17     James Brown; is that right?
    18     A.   That's correct.
    19     Q.   And in that text message either you or Officer Brown
    20     says I will call Dave; is that right?
    21     A.   That's him texting me. I did not -- that's correct.
    22     Q.   Okay. And had you had a phone call with Officer Brown
    23     prior to this text message?
    24     A.   Honestly I don't recall.
    25     Q.   Do you know who the Dave is he was referring to?


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     1     A.   When I initially saw that I saw it at the prosecutor's
     2     office when we reviewed, and I thought it was possibly
     3     Dave Lera (phonetic) who is another JTFF member.
     4     Q.   Okay. And you responded, did you run his name?
     5     A.   I didn't respond to that, no, sir. I think that he -- I
     6     think that he sent that to me as well.
     7     Q.   All right. And did you send him a response?
     8     A.   No, I did not. I don't believe I did because I --
     9     Q.   CBP Officer Brown send you a text message, did you run
    10     his name? I will call NCIC and check and let me know. Do
    11     you recall receiving that text message from CBP
    12     Officer Brown?
    13     A.   I do not recall receiving that text message, no, sir.
    14     Q.   Are you saying that you never received it or you don't
    15     recall receiving it?
    16     A.   I don't recall receiving it. Obviously I received it,
    17     you have it right there.
    18     Q.   Clearly you received it because it's in your phone?
    19     A.   That is correct.
    20     Q.   Alright. And were there text messages that you sent in
    21     response to CBP Officer Brown?
    22     A.   I don't believe so. I believe I spoke with him on the
    23     phone.
    24     Q.   Okay. Did you check your phone to see if you sent text
    25     messages to CBP Officer Brown?


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     1     A.   I did, sir.
     2     Q.   And were there text messages -- returned messages that
     3     you sent to Brown?
     4     A.   I did not find any. I typically as a routine practice
     5     delete my text messages after I read them.
     6     Q.   So you could have deleted your responses?
     7     A.   It is possible, but I don't recall responding. It would
     8     be -- if I would have responded I assume it would be in that
     9     string of responses.
    10     Q.   So let me get this straight, you received two text
    11     message from CBP Officer Brown and you responded to neither?
    12     A.   I do not recall responding to either one of them.
    13     Q.   What does that mean; that you could have but you don't
    14     remember?
    15     A.   I don't believe I responded, sir. I believe I spoken
    16     with him telephonically. I think I got them, and I was
    17     either possibly driving in my vehicle. I did not respond, I
    18     remember speaking to him telephonically.
    19     Q.   Agent Thomas, you've been disciplined in the past for
    20     neglecting in your preparing and reviewing documentation
    21     during an investigation; is that correct?
    22     A.   That is correct, sir.
    23     Q.   And you were suspended as a result of your neglect?
    24     A.   I received a one-day suspension, that's correct, sir.
    25     Q.   And in this case, is it -- are you saying that you could


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     1     have failed to preserve communications from you to another
     2     agent regarding a possible terrorist investigation?
     3     A.   That's not what I'm saying at all, sir. I'm just saying
     4     I don't recall receiving that text message that you just
     5     showed me.
     6     Q.   Okay. But you may have received it and deleted it?
     7     A.   That's correct.
     8     Q.   Do you remember how long you and Agent Brown
     9     communicated about Mr. Ramadan?
    10     A.   My recollection, the telephone call would have been very
    11     briefly because I was en route to the airport.
    12     Q.   Why were you en route to the airport?
    13     A.   To go -- because CBP called me to respond to the
    14     airport.
    15     Q.   And you responded immediately?
    16     A.   Well, if I received the call probably within 15 minutes
    17     after receiving the call I would have responded, correct.
    18     Q.   So your text message from CBP Officer Brown was at 9:17
    19     so you should have gotten a -- you probably got a call from
    20     Stiggerwalt or somebody from CBP at about 9:00; is that
    21     right?
    22     A.   I don't recall exactly what time it was.
    23     Q.   I want you to approximate given what you just said.
    24     A.   I was say approximately, sir.
    25     Q.   9:00, around 9:00?


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     1     A.   Yes, sir.
     2     Q.   8:59, something like that?
     3     A.   Somewhere in that time frame, I can't be certain.
     4     Q.   Okay.
     5     A.   I did receive a call that evening, I can't be specific
     6     exactly what time.
     7     Q.   So you got a call from someone at CBP, possibly
     8     Stiggerwalt, correct?
     9     A.   Correct.
    10     Q.   And then you get two text messages around 9:17 from CBP
    11     Officer James Brown; is that correct?
    12     A.   That's correct.
    13     Q.   Asking you to come to the airport, right?
    14     A.   No, I don't think he was asking me to come to the
    15     airport.
    16     Q.   You got a call regarding --
    17     A.   I told him I was en route to the airport, and I believe
    18     he was already there.
    19     Q.   I'm sorry. You got a call -- you weren't already on
    20     your way to the airport that evening; is that right? Where
    21     were you when you got the call from possibly Striggerwalt?
    22     A.   I was at my residence.
    23     Q.   You were at home. You get a call from Stiggerwalt or
    24     someone from CBP, right?
    25     A.   Correct.


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     1     Q.   They tell you about we got this guy, Ramadan, at the
     2     airport, we want you to come by and check him out?
     3     A.   Correct.
     4     Q.   9:17 you get an couple text messages from CBP
     5     Officer Brown; is that right?
     6     A.   According to what you showed me, yes.
     7     Q.   You don't have any recollection of having contact with
     8     Brown that evening?
     9     A.   I have recollection of speaking with him telephonically.
    10     Q.   Okay. All right. And we have a record from your phone
    11     that you -- you contacted him about -- he contacted you about
    12     9:17 on your way to the airport, right? Is that right?
    13     A.   Again, I'm not sure if I was en route to the airport.
    14     He sent me a text at 9:17. I don't recall seeing it. I
    15     don't recall replying to it. So it is possible when I saw it
    16     I telephonically called him.
    17     Q.   All right. How long -- did you do you anything --
    18     between the time that you got your call and the time that you
    19     saw Mr. Ramadan, did you make any other phone calls? Did you
    20     contact anybody else?
    21     A.   I probably contacted my supervisor to -- what I
    22     routinely do is to let him know I'm responding to the
    23     airport.
    24     Q.   A supervisor with whom -- with who?
    25     A.   When the FBI, it would have been Nick Zamback at the


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     1     time.
     2     Q.   Is he with Joint Terrorism Task Force as well?
     3     A.   He would have the supervisor at the JTFF.
     4     Q.   You informed him why you were going to the airport?
     5     A.   Yes, sir.
     6     Q.   Did you contact anybody else?
     7     A.   Not that I recall, no, sir.
     8     Q.   Did you receive any information from anybody else?
     9     A.   Not that I recall, sir.
    10     Q.   And your assigned duties on August 15th, 2017 were what
    11     as an FBI, what were your duties that evening?
    12     A.   That evening the same as they are every evening, as the
    13     airport liaison officer with the FBI to CBP, to other
    14     airlines. Anybody who needs FBI assistance --
    15     Q.   You investigate what, what do you do?
    16     A.   I investigate all federal violations that occur at the
    17     airport.
    18     Q.   Including terrorism?
    19     A.   Including terrorism, that would be correct.
    20     Q.   And was your participation in the interrogation of
    21     Mr. Ramadan on August 15th, 2017 consistent with your
    22     assigned duties as a terrorism investigator?
    23     A.   I never interrogated Mr. Ramadan.
    24     Q.   Did you question Mr. Ramadan?
    25     A.   I did. I interviewed him, yes.


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     1     Q.   Alright. And you make a distinction between questioning
     2     and interrogation; is that right?
     3     A.   Yes, I do.
     4     Q.   Please tell me the difference between questioning
     5     somebody and interrogating somebody?
     6     A.   I think an interrogation involves when somebody is in
     7     custody and you are questioning them about a crime they are
     8     being charged with, that to me would be an interrogation.
     9     Q.   Okay. Define custody.
    10     A.   Custody, they are under arrest, they are not free to
    11     leave, they have been advised of their Miranda Rights. That
    12     would be a custodial.
    13     Q.   All right. How long did it take you to get to the
    14     airport?
    15     A.   30, 35 minutes, 30.
    16     Q.   What did you do once you arrived at airport?
    17     A.   Once I got to the airport, I went into the north
    18     terminal, and I was met by CBP officers who gave me a general
    19     thumbnail sketch of what they had.
    20     Q.   What did they tell you that they had.
    21     A.   Again, as I stayed earlier, that they had received a
    22     call from TSA. They had the bags, they had all the bags, the
    23     contents of the bags laid out, and they were reviewing I
    24     believe some media at that time that they had found.
    25     Q.   Did they tell you what was on the media?


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     1     A.   ISIS related videos and propaganda.
     2     Q.   Do you investigate ISIS -- individuals connected with
     3     ISIS?
     4     A.   If it happens at the airport, yes, sir.
     5     Q.   So this would have been consistent with your duties as
     6     an FBI agent?
     7     A.   Yes, sir.
     8     Q.   Did you consult with any other agents -- you just
     9     answered that.
    10                So how -- do you recall which agents you talked to
    11     go about Mr. Ramadan?
    12     A.   No, sir, I do not.
    13     Q.   And so you had -- did you look at the media yourself
    14     before talking to Mr. Ramadan?
    15     A.   I did. I went into the command center and saw what they
    16     had had at that time, not all of it. Like I said, they were
    17     reviewing it so not all -- everything but I did say some.
    18     Q.   There was a lot of stuff on that hard drive, a lot of
    19     information, a lot of data?
    20     A.   I am assuming so, yes, sir.
    21     Q.   But you were able to -- what time did you arrive at the
    22     airport, do you remember? It took you about 30 minutes or so
    23     it took you to get there?
    24     A.   I arrived between 10:00 and 10:15.
    25     Q.   And so you looked at the -- you talked to the agents,


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     1     they told you well, we found some ISIS videos and some other
     2     stuff, and then you looked at it yourself?
     3     A.   I looked at all the equipment that laid out on the
     4     belts.
     5     Q.   Did you have any concerns seeing that?
     6     A.   I did.
     7     Q.   What were those concerns?
     8     A.   Just to me it didn't appear like normal stuff that
     9     normal travelers travel with.
    10     Q.   Suggesting what?
    11     A.   Not suggesting anything. It's just -- it wasn't
    12     consistent with normal travel and packing. Somebody who was
    13     either involved with the military or possibly --
    14     Q.   Possibly what? What?
    15     A.   Hunting. I don't know. It just was not consistent with
    16     equipment that I've seen -- or not consistent with normal
    17     travel stuff.
    18     Q.   All right. So why didn't you turn around and go home if
    19     you thought it was nothing, if it was just something unusual?
    20     A.   I felt that --
    21     Q.   You didn't turned around and go home, did you?
    22     A.   No, sir, I did not.
    23     Q.   You continued your investigation?
    24     A.   Correct.
    25     Q.   Where was Mr. Ramadan located when you first saw him?


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     1     A.   He was in the reception area of the CBP secondary
     2     inspection area.
     3     Q.   Did you see his wife and children with him -- or people
     4     who appeared to be his wife and children?
     5     A.   Yes.
     6     Q.   Did you lead or summon Mr. Ramadan into a small
     7     interrogation room?
     8     A.   Excuse me.
     9     Q.   Did you lead or summon Mr. Ramadan into a small
    10     interrogation room?
    11     A.   No, sir, I did not.
    12     Q.   Did you go into a smaller room? Let me make this easy
    13     for you. You see Mr. Ramadan in the reception area; is that
    14     right?
    15     A.   Yes.
    16     Q.   Did you walk up to him and start questioning him?
    17     A.   No, sir, I do not.
    18     Q.   Once you get to the reception area, where do you go?
    19     A.   I went into the command center.
    20     Q.   Okay. What do you do in the command center?
    21     A.   Again, that's where I was -- where the CBP officers were
    22     reviewing some of stuff they had found, and I looked at some
    23     of that stuff.
    24     Q.   How long did it take you to review that?
    25     A.   Not very long, maybe five to seven minutes.


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     1     Q.   What did you did after reviewing that information? What
     2     did you do or where did you go?
     3     A.   I went to the -- there's a break room across the CPC
     4     area.
     5     Q.   What did you do there?
     6     A.   That's where I wanted to interview Mr. Ramadan.
     7     Q.   Was this a room with a desk and chairs and a computer?
     8     A.   Yes, and a big round table.
     9     Q.   Were people already in that room?
    10     A.   I don't recall if there were people already in that room
    11     when I got inside the room.
    12     Q.   So you walk inside the room. What happens next?
    13     A.   I -- I'm joined by CBP Officer Schmeltz, HSI
    14     Officer Kelley and Task Force Officer James Brown.
    15     Q.   Was Agent Armentrout there?
    16     A.   No, sir, I don't believe so.
    17     Q.   Do you know Armentrout?
    18     A.   I do, sir.
    19     Q.   And you don't believe he was in the room?
    20     A.   I do not believe he was in the room.
    21     Q.   So it was you, Schmeltz, Kelley and Brown inside the
    22     room?
    23     A.   I'm trying to think if Schmeltz was there when I
    24     initially --
    25     Q.   You said he was?


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     1     A.   I stand corrected. I don't believe Schmeltz was in
     2     there when I was -- when we initially interviewed
     3     Mrs. Ramadan.
     4     Q.   Mrs. Ramadan or Mr. Ramadan?
     5     A.   Mrs. Ramadan. I interviewed her first, sir.
     6     Q.   You interviewed Mrs. Ramadan first?
     7     A.   Yes, sir.
     8     Q.   Did you ask Mrs. Ramadan questions about Mr. Ramadan?
     9     A.   I did.
    10     Q.   Did you ask Mrs. Ramadan why Mr. Ramadan had ISIS -- why
    11     he was looking at ISIS videos?
    12     A.   I did.
    13     Q.   Did you ask Mrs. Ramadan whether your husband -- about
    14     your husband's political beliefs?
    15     A.   Political beliefs?
    16     Q.   Yes, sir.
    17     A.   No, sir, I don't believe so.
    18     Q.   Did you ask Mrs. Ramadan if your husband was connected
    19     to ISIS, Hamas, Hesballah?
    20     A.   No.
    21     Q.   Did you ask Mrs. Ramadan if her husband was a private
    22     person?
    23     A.   I believe she told me he was a private person.
    24     Q.   In response to a question or she just blurted it out?
    25     A.   It was possibly in respond to a question but I --


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     1     Q.   Did you ask Mrs. Ramadan other questions about her
     2     husband?
     3     A.   I asked him if he had any firearms. I asked her why he
     4     would have -- or, you know, why he has these ISIS videos.
     5     Q.   Your question related to the ISIS videos, that wasn't in
     6     relationship to any kind of export violation, was it?
     7     A.   No, sir.
     8     Q.   That was -- you asked those questions because you are
     9     suppose to ask those questions as a Joint Terrorism Task
    10     Force officer; is that right?
    11     A.   I would agree with that, yes, sir.
    12     Q.   You would agree with that?
    13     A.   Yes, sir.
    14     Q.   And the point of that question was to determine if
    15     Yousef Ramadan was connected to -- if if she knew or was
    16     willing to provide you information about Yousef Ramadan's
    17     connection to any terrorist organizations?
    18     A.   My question was --
    19     Q.   I said the point of your question.
    20     A.   I'm sorry. Could you repeat the question.
    21     Q.   I said by asking that question -- you asking
    22     Mrs. Ramadan questions about these ISIS videos because you
    23     wanted to find out if she knew or was prepared to tell you if
    24     her husband was connected to any terrorist organizations?
    25     A.   Yes, sir.


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     1     Q.   How long did you talk to Mrs. Ramadan?
     2     A.   Maybe 30 minutes.
     3     Q.   And would you say that your questioning of Mrs. Ramadan
     4     was to determine if she and her husband, specifically her
     5     husband, posed some sort of terroristic threats to the U.S.,
     6     its allies or others?
     7     A.   Yes, sir.
     8     Q.   After you were done questioning Mrs. Ramadan, what did
     9     you do next?
    10     A.   I went out in the hallway and I talked to Mrs. Ramadan's
    11     sister who was out there.
    12     Q.   Her sister?
    13     A.   There was a sister out there, yeah.
    14     Q.   Really?
    15     A.   Yes.
    16     Q.   Okay.
    17     A.   And asked her --
    18     Q.   You talked to her sister?
    19     A.   Yes.
    20     Q.   Do you remember her sister's name?
    21     A.   I don't remember the sister's name.
    22     Q.   Okay. You left the secondary inspection area?
    23     A.   Correct.
    24     Q.   That's that secured area, right, or at least that's --
    25     A.   That's correct.


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     1     Q.   So you left out of there and you walked outside?
     2     A.   Right outside of that area, yes, sir.
     3     Q.   Why did you do that? Did someone call you and tell you
     4     that Mrs. Ramadan's sister is here asking about her?
     5     A.   Mrs. Ramadan's sister said -- excuse me. Mrs. Ramadan
     6     said she was staying with the sister.
     7     Q.   Okay.
     8     A.   And I wanted to confirm that information.
     9     Q.   So her sister was outside waiting for you?
    10     A.   She was waiting for them, I believe.
    11     Q.   Okay. So you walked outside and you talked to her?
    12     A.   Yes.
    13     Q.   And did you confirm the information with her sister that
    14     they were staying with her?
    15     A.   Yes.
    16     Q.   And what else did you guys talk about?
    17     A.   I believe that was it. Then I went back inside and went
    18     to -- went back up into the command center to see if there
    19     was any additional information, and then I went -- returned
    20     back to the interview room and then wanted to interview
    21     Mr. Ramadan again -- or wanted to interview Mr. Ramadan at
    22     that point.
    23     Q.   Was Schmeltz in the interview room by this time?
    24     A.   He was present for that interview, yes, sir.
    25     Q.   So did somebody go and get Mr. Ramadan and bring him to


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     1     you?
     2     A.     Somebody brought Mr. Ramadan to that room, yes, sir.
     3     Q.     Okay. So at this time there is also Schmeltz, Kelley,
     4     you and Brown, right, in the room?
     5     A.     Myself, Officer Brown, Schmeltz, and Mr. Kelley, yes,
     6     sir.
     7     Q.     Were you all armed -- were you armed?
     8     A.     I was armed, yes, sir.
     9     Q.     Okay. Did you -- was your sidearm visible?
    10     A.     No, sir.
    11     Q.     Did you have your jacket on?
    12     A.     I had probably a shirt on covering my weapon.
    13     Q.     Was your weapon sticking out or did you have one of
    14     those really sneaking concealed weapons where you can't --
    15     A.     No, sir. My weapon was covered, sir.
    16     Q.     What kind of weapon do you have?
    17     A.     I have a Glock .22, sir.
    18     Q.     Is that the big one or the small one?
    19     A.     It is a Glock .22. I'm not sure sure what you are
    20     comparing it to.
    21     Q.     Where was Mr. Ramadan seated inside the room?
    22     A.     We were all sitting around a round time. I think if I
    23     was sitting here here, Mr. Ramadan would have been sitting
    24     right here at that round table.
    25     Q.     Okay. So you were all seated?


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     1     A.   Yes, sir.
     2     Q.   No one was standing?
     3     A.   No, sir.
     4     Q.   Why Mr. Ramadan wasn't free to leave that interview
     5     room, was he?
     6     A.   He could have left, I guess.
     7     Q.   What do you mean you guess?
     8     A.   I don't know where he would have went to. He could have
     9     went to the restroom or something.
    10     Q.   Was he free to leave the airport?
    11     A.   No, sir, he was not free to leave the airport, not until
    12     CBP has completed their inspection.
    13     Q.   Okay. During your question of Mr. Ramadan, did he ask
    14     for an attorney?
    15     A.   He did not, sir.
    16     Q.   Did he ask that the questions be recorded?
    17     A.   He did not, sir.
    18     Q.   Did he ask if the questioning was being recorded?
    19     A.   He did not, sir.
    20     Q.   Are you aware that in 2014 then FBI director and
    21     Attorney General Eric Holder initiated a policy that stated
    22     that FBI interrogations or FBI interviews should be recorded?
    23     Were you aware of that? Were you of that policy? You were
    24     an agent when that policy was handed down, weren't you?
    25     A.   I was, but that's not what the policy says, sir.


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     1     Q.   Why don't you tell me, was there a preference to record
     2     interrogation? Isn't that what the policy says?
     3     A.   Under certain circumstance, yes, sir. One of those
     4     conditions --
     5     Q.   You've answered my question.
     6     A.   I'm sorry.
     7     Q.   You've answered my question.
     8     A.   I just wanted to make sure I was clear.
     9     Q.   You were clear.
    10     A.   Okay.
    11     Q.   So you were the only FBI agent who was present, there
    12     wasn't a second FBI present; is that right?
    13     A.   I was the only one, sir.
    14     Q.   Is there a FBI policy that counsels or directs that two
    15     FBI agents be present during the questioning of suspects?
    16     A.   Not necessarily two FBI agents but two agents assigned
    17     to the same squad or something like that, and my number two
    18     was Task Force Officer James Brown.
    19     Q.   Did you question Mr. Ramadan in an effort to determine
    20     if he posed a terrorism threat to the United States, its
    21     allies or others?
    22     A.   I did.
    23     Q.   Did you question Mr. Ramadan in an effort to determine
    24     if he had supposed or had aided terrorist organizations?
    25     A.   I did.


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     1     Q.   Did you ask Mr. Ramadan if he believed in the caliphate?
     2     A.   I don't know if I asked him that or if he stated that,
     3     but he said that he did believe in the caliphate.
     4     Q.   He just blurted that out? He just said I believe in the
     5     caliphate, or was it in response to a question?
     6     A.   Sir, it was probably in response to a question.
     7     Q.   Thank you, Officer. Did you ask Mr. Ramadan if he was
     8     going to carry out any acts of violence in the United States?
     9     A.   I did not ask him that. He made a statement that if he
    10     was to carry out an act it would be much easier to carry an
    11     act out into the states versus overseas.
    12     Q.   Isn't what Mr. Ramadan said if I wanted to carry out a
    13     terrorist act or an act of violence it would be easier
    14     overseas?
    15     A.   No, sir. He said it would be easier to do here in the
    16     United States.
    17     Q.   I'm sorry. He said but if I wanted to -- if I were of a
    18     mind -- if I wanted to do something like that it would be
    19     easier here in the U.S.?
    20     A.   That's correct, sir.
    21     Q.   He never said he was going to go do it, he said if I
    22     wanted to?
    23     A.   That's correct, sir, he never said that.
    24     Q.   And did you ask Mr. Ramadan if he was going to carry out
    25     any acts of violence in the United States?


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     1     A.   I don't believe I specifically asked him that.
     2     Q.   Did Mr. Ramadan indicate to you that he had no intention
     3     of carrying out any acts of violence in the U.S. or anyplace
     4     else?
     5     A.   Correct, he did say that.
     6     Q.   Did you request Mr. Ramadan about his distrust of others
     7     or did that come out?
     8     A.   That came up, yes, sir.
     9     Q.   Mr. Ramadan said he doesn't trust many people?
    10     A.   Correct, including his wife.
    11     Q.   Did you ask Mr. Ramadan why he needed the bulletproof
    12     vest?
    13     A.   I asked him why he had the vest, and said that he had
    14     the vest because he used to be a security guard in
    15     California, I believe
    16     Q.   Did you see -- when you reviewed his media, did you see
    17     a picture of Mr. Ramadan in his security guard uniform with
    18     his bulletproof vest on?
    19     A.   I don't recall any of that.
    20     Q.   You don't recall seeing that on the videos that you
    21     reviewed?
    22     A.   No, sir, I did not
    23     Q.   Did you question Mr. Ramadan about why he had the ISIS
    24     videos?
    25     A.   I did, sir.


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     1     Q.   Did you ask Mr. Ramadan about firearms?
     2     A.   I did, sir.
     3     Q.   Did you question Mr. Ramadan about having permission to
     4     own firearms; whether or not he had a license to legally
     5     carry firearms?
     6     A.   I don't recall if I asked him if he had a license to
     7     carry.
     8     Q.   Did you ask Mr. Ramadan where firearms were located?
     9     A.   I did, sir.
    10     Q.   Did you have a discussion with Mr. Ramadan about the
    11     ISIS videos radicalizing him and inspiring him to commit acts
    12     against the United States? Did you tell Mr. Ramadan that you
    13     were concerned about the ISIS videos and that they may
    14     radicalize him?
    15     A.   I told him I had concerns with the totality of what he
    16     was telling me, the ISIS videos, his paranoia that everybody
    17     was watching him, his --
    18     Q.   Stockpiling of firearms?
    19     A.   No, I didn't say anything about stockpiling firearms.
    20     Q.   Didn't you write a note where you circled stockpiling
    21     firearms?
    22     A.   I don't believe so, sir.
    23     Q.   Give me one second. Do you recall those notes that you
    24     took during the interview of Mr. Ramadan?
    25     A.   Yes, sir.


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     1     Q.   Do you recall writing stockpile?
     2     A.   I do remember stockpiles.
     3     Q.   So that's was one of the things that you were concerned
     4     of --
     5     A.   I wouldn't consider three weapon stockpiles.
     6     Q.   But that's what you wrote on your notes?
     7     A.   That's what is there, sir, but --
     8     Q.   That's what you wrote, isn't it?
     9     A.   That is correct.
    10     Q.   You wrote stockpile, I didn't, right?
    11     A.   That is correct, sir.
    12     Q.   And then you wrote on your report ISIS/Hamas videos,
    13     correct?
    14     A.   I don't think I wrote on my report -- yes, sir.
    15     Q.   You wrote on your report ISIS/Hamas videos, right?
    16     A.   In my notes there, sir.
    17     Q.   Then you wrote Gaza in your notes, right?
    18     A.   Correct, sir.
    19     Q.   Then you wrote Bethlehem; is that correct?
    20     A.   That's correct.
    21     Q.   You wrote issue Hamas -- ISIS/Hamas again, correct?
    22     A.   Can I see it again, sir? Correct, sir.
    23     Q.   And you circled paranoia, correct?
    24     A.   Yes, sir. If I can explain that?
    25     Q.   No, I don't need you to. I want you to answer my


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     1     question.
     2     A.   Yes, sir, I did circle that.
     3     Q.   And then in really big circles you circled lone wolf; is
     4     that right? Yes or no. Did you do that?
     5     A.   Correct.
     6     Q.   And lone wolf, in FBI terms, lone wolf is a single --
     7     someone acting by themself as a terrorist; is that right?
     8     A.   That would be -- a lone wolf would be somebody that acts
     9     on their own, yes, sir.
    10     Q.   Terrorist?
    11     A.   It doesn't necessarily have to be terrorism. It could
    12     be --
    13     Q.   It could be a terrorist?
    14     A.   It could be, doesn't necessarily have to be.
    15     Q.   That's what you were talking about, right, terrorist?
    16     A.   When I wrote the lone wolf is Mr. Ramadan told me that
    17     he was very private and acted alone, he was a lone, that's
    18     why I wrote that. I told him I had some concerns, and one of
    19     them is because you told me yourself, sir, you were a lone
    20     wolf. Sir, you told me yourself --
    21     Q.   You used the words himself I am a lone wolf?
    22     A.   A loaner.
    23     Q.   You wrote lone wolf; is that right?
    24     A.   Correct, sir.
    25     Q.   And lone wolf is used in FBI terminology sometimes to


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     1     describe a terrorist acting alone?
     2     A.   That's correct, sir.
     3     Q.   Did you or one of the other agents in the room
     4     questioning Mr. Ramadan tell him that he would be or could be
     5     taken to Guantanamo to be detained and interrogated further
     6     if he refused to answer your questions?
     7     A.   No, sir.
     8     Q.   How long did your questioning of Mr. Ramadan last?
     9     A.   My interview, I guess, would -- if I had to estimate, I
    10     would say between an hour, hour and 15 minutes possibly.
    11     Q.   Toward the end of questioning he told you he didn't want
    12     to answer any more questions, didn't he?
    13     A.   No, sir. He answered all of the questions. It wasn't
    14     until we were ready to leave and he recanted -- he had told
    15     us that his weapons were stored in a mini storage and that he
    16     would take us there at the conclusion of the interview. When
    17     we all wrapped up that evening and we were ready to leave, we
    18     were all ready to leave, and we said do you have the key for
    19     it, he changed his story all of a sudden and told us a story
    20     that he gave his weapons to his friend, and it was after that
    21     exchange that he said -- he start getting irritated and he
    22     said I'm done, but we were already done with the interview.
    23     Q.   In the middle of the interview that you had with
    24     Mr. Ramadan while you were still in the interview room, was
    25     he handcuffed?


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     1     A.   No, sir, he was very cooperative.
     2     Q.   He was very cooperative?
     3     A.   He was cooperative. He answered all the questions in
     4     the room.
     5     Q.   So if another agent described him as being uncooperative
     6     then that agent didn't know what he was talking about; is
     7     that right?
     8     A.   He answered the questions I posed to him. He was
     9     cooperative when I interviewed him --
    10     Q.   All right.
    11     A.   -- right up the point before we got to leave, and then
    12     he changed.
    13     Q.   So Mr. Ramadan never told you during the interview that
    14     he didn't want to ask any of your questions?
    15     A.   He did not.
    16     Q.   Did he ask you if it was voluntary?
    17     A.   He did not.
    18     Q.   Did any agent tell him that he had to answer your
    19     questions?
    20     A.   Not that I heard, not that I'm aware of.
    21     Q.   Did any agent ever tell him that he was at an
    22     international border and he was required to answer questions?
    23     A.   Not during my interview, sir.
    24     Q.   Did you ever advise Mr. Ramadan of his -- any Miranda
    25     Rights?


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     1     A.   He was not under arrest or in custody.
     2     Q.   You thought he was. I asked you if you advised him of
     3     his Miranda Rights?
     4     A.   Sir, I would advise him of his Miranda Rights if he
     5     was --
     6     Q.   The question is no, I didn't advise him of any Miranda
     7     Rights?
     8                THE COURT: Hold on. Do you want to start that
     9     over again? Listen, sir, to the question.
    10     A.   Yes, ma'am.
    11     BY MR. DENSEMO:
    12     Q.   Did you take out a card with Miranda warnings on it?
    13     A.   I did not, sir.
    14     Q.   At any time during the interview, did you read from a
    15     card with Miranda warnings on it?
    16     A.   I did not, sir.
    17     Q.   At any time during the interview did you ever read
    18     Miranda warnings out loud to Yousef Ramadan?
    19     A.   I did not, sir.
    20     Q.   Did you see Mr. Ramadan handcuffed at any point during
    21     the evening?
    22     A.   I don't recall seeing him handcuffed at any time while I
    23     was there, sir.
    24     Q.   Ever?
    25     A.   Ever, sir, while I was there.


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     1     Q.   Even at the point in time where he was in the reception
     2     area when you thought you were about to leave to go to
     3     storage facility, you don't recall seeing him handcuffed then
     4     either?
     5     A.   I almost saw him handcuffed, sir, but he was not
     6     handcuffed because the agent who went to cuff him didn't have
     7     handcuffs on him and he sat him in the room, and shortly
     8     thereafter I left.
     9     Q.   So when you left. When you left who was there -- who
    10     was -- what agents were still there with Mr. Ramadan?
    11     A.   Agents? I was --
    12     Q.   Officers, CBP officers, agents.
    13     A.   I can't say who was still there, sir.
    14     Q.   When you left out of the room, who did you see -- well,
    15     Mr. Ramadan wasn't by himself, was he?
    16     A.   There were some other CBP officers working, so I'm not
    17     sure who they were.
    18     Q.   Was Schmeltz still there?
    19     A.   I believe he was still there, yes, sir.
    20     Q.   Was Kelley still there?
    21     A.   I can't say -- I don't know if you left with us or
    22     slightly before us, but I can't say.
    23     Q.   How about Brown, was Brown still there?
    24     A.   I believe Brown and I walked out together, and Kelley
    25     may have been with us when we walked out together, I just


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     1     don't recall.
     2     Q.   You do not recall?
     3     A.   I do not recall.
     4     Q.   During the time that you interviewed Mr. Ramadan, was he
     5     given any food or water?
     6     A.   I believe he was given water.
     7     Q.   You believe it. Did you see it?
     8     A.   Yes, there was water on the table. He didn't ask for
     9     any food or anything, but I believe he asked for a glass of
    10     water and it was brought in.
    11     Q.   At the time that you were interviewing Mr. Ramadan, was
    12     his family still in the waiting area?
    13     A.   I don't know, sir, if they had been released already.
    14     Q.   But the time that you left was his family there?
    15     A.   They were not there when I left, no, sir.
    16     Q.   What time did you leave?
    17     A.   I estimate I left probably between 3:00 and 3:30ish, I'm
    18     not sure exact time, sir, a.m.
    19     Q.   Did you see any -- did you see any agents punch
    20     Mr. Ramadan?
    21     A.   No, sir, I did not.
    22     Q.   Did you see any agent raise Mr. Ramadan's arms high
    23     behind his back -- his arms in this fashion (indicating)?
    24     A.   No, sir, I did not.
    25     Q.   Did you see any agent twist Mr. Ramadan's ear or squeeze


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     1     the back of his neck?
     2     A.   No, sir, I did not. The only time I saw anybody put
     3     hands on Mr. Ramadan was Agent Brown when he told him to
     4     turned him around, he put his hand on his shoulder and he
     5     reached back to grab his handcuffs and he didn't have his
     6     cuffs, then he sat Mr. Ramadan in the chair in the interview
     7     room I believe.
     8     Q.   Where did there take place?
     9     A.   It took place in the CBP reception area.
    10     Q.   Why was agent -- why was Officer Brown his hands on
    11     Mr. Ramadan?
    12     A.   Mr. Ramadan started getting boisterous and excited and
    13     that's when he said I'm done, I'm done, and Agent Brown
    14     wasn't comfortable with that.
    15     Q.   Do you know the length of time that Mr. Ramadan was
    16     detained in that secondary inspection area?
    17     A.   I don't know the total amount of time, no, sir.
    18     Q.   Did you ask Mr. Ramadan for pass codes to his cellphone
    19     and laptop?
    20     A.   I did ask him.
    21     Q.   And what was his response?
    22     A.   That he wasn't going to provide them or he did not
    23     provide them, wouldn't provide them, because CBP wouldn't
    24     give him some type of letter to say it wouldn't be used
    25     against him.


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     1     Q.   You don't consider that being cooperative, do you,
     2     refusing to -- was that being cooperative?
     3     A.   Sir, you asked him me if he was cooperative with me.
     4     Q.   When you asked him for the pass codes --
     5     A.   I believe he unlocked his phone when I asked him.
     6     Q.   All right.
     7     A.   I think he unlocked his phone when I asked him to. He
     8     didn't provide the code, but he unlocked the phone.
     9     Q.   And were you able to access his phone without the pass
    10     codes?
    11     A.   I didn't access his phone, sir. I didn't touch his
    12     phone, sir.
    13     Q.   Were you aware that CBP officers had asked him for his
    14     pass codes and the pin, and he refused to give it to him?
    15     A.   I was aware of that, yes, sir.
    16     Q.   There were no other members of the general public in the
    17     secondary area when Mr. Ramadan was there, were there?
    18     A.   Other than his wife and children, no, sir.
    19     Q.   Do you know if there were cameras in the reception area
    20     and the interview rooms?
    21     A.   I'm not sure if there are cameras in the reception area,
    22     but I do believe there's cameras in the interview rooms. I
    23     don't believe there were cameras where we talked.
    24     Q.   Did you ask that some of Mr. Ramadan's property be
    25     seized or detained for further inspection or investigation?


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     1     A.   No, sir, I did not.
     2     Q.   Were you aware that his property had been seized?
     3     A.   I was aware that his had seized, yes, sir.
     4     Q.   Were the agents in uniform or were they in plainclothes?
     5     A.   Both, sir.
     6     Q.   Were the firearms -- was any agent's firearm visible?
     7     A.   The agents in uniform their weapons would have been
     8     visible, yes, sir.
     9     Q.   Do you recall how many uniformed officers you remember
    10     seeing?
    11     A.   I don't recall, sir.
    12     Q.   Did your office maintain surveillance of Mr. Ramadan
    13     beginning August 16th, 2017?
    14     A.   I'm not certain when they picked up surveillance of him,
    15     sir. I was not part of it.
    16     Q.   But there was surveillance directed at Mr. Ramadan?
    17     A.   There was, sir.
    18     Q.   After August 15th, 2017?
    19     A.   There was, sir.
    20     Q.   You maintained an open terrorism investigation on
    21     Mr. Ramadan, didn't you?
    22     A.   I did not, sir.
    23     Q.   Your office did?
    24     A.   Our office did, correct.
    25     Q.   Did Mr. Ramadan call you about missing gold and money?


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     1     A.   He did not contact me, no, sir.
     2     Q.   He didn't call you twice and ask for your assistance in
     3     returning some gold and missing money?
     4     A.   Sir, I don't recall him calling me, and had he did call
     5     me I certainly would have deferred me to either, A, the
     6     airlines, or, B, CBP, but I don't have any recollection of
     7     him calling me.
     8     Q.   Did Mr. Ramadan ever asked for who you were or your
     9     business card when you were talking to him?
    10     A.   I would have identified myself and left him a business
    11     card.
    12     A.   And you don't recall any phones call from him at all?
    13     A.   I'm sorry, sir, I don't.
    14     Q.   You don't recall Mr. Ramadan contact -- giving him
    15     contact information about who he should call at the airport
    16     to get his property back, you don't remember that at all?
    17     A.   Again, sir, I don't remember the conversation, but had
    18     he called me I would have directed him to CBP or the
    19     airlines, sir.
    20     Q.   All right. So is it -- I don't mean to keep going over
    21     this but I want to make sure we are clear about this. Are
    22     you saying, Agent Thomas, that he never called you, or you
    23     don't remember -- that he could have called you but you don't
    24     remember?
    25     A.   I don't recall, sir. It is possible he may have called


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     1     and asked me that. It is possible, I just don't recall.
     2     Q.   Thank you. At the time that you left was Mr. Ramadan
     3     still being detained by the CBP officers?
     4     A.   They were still finishing up whenever they were doing
     5     so, yes.
     6     Q.   He was?
     7     A.   He was still there when I left, yes, sir.
     8                MR. DENSEMO: I think I'm done, Judge. I will see
     9     if my colleague has any additional questions.
    10                (An off-the-record discussion was held at
    11                12:04 p.m.)
    12     BY MR. DENSEMO:
    13     Q.   Special Agent Thomas, do the TSAs always contact FBI
    14     agents or export violations?
    15     A.   For export violations, TSA or CBP, sir.
    16     Q.   TSAs.
    17     A.   No, sir.
    18                MR. DENSEMO: Thank you. I appreciate it.
    19                THE COURT: Cross-examination?
    20                MR. WATERSTREET: Your Honor, we have no questions.
    21     Thank you.
    22                THE COURT: All right. You may step down, sir.
    23     A.   Thank you, ma'am.
    24                (Witness excused at 12:05 p.m.)
    25                THE COURT: Your next witness?


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     1                MS. FITZHARRIS: Your Honor, if you wouldn't mind
     2     if we take a break before Officer James Brown testifies for
     3     the bathroom really quick?
     4                THE COURT: No. We will take our lunch break then.
     5                MS. FITZHARRIS: Okay.
     6                THE COURT: We will resume at 1:15. All right.
     7     Thank you.
     8                THE LAW CLERK: All rise. Court is in recess.
     9                (Court recessed at 12:09 p.m.)
    10                                    _     _    _
    11                (Court reconvened at 1:23 p.m.; Court, Counsel and
    12                Defendant present.)
    13                THE LAW CLERK: All rise. Court is again in
    14     session.
    15                Calling Case No. 17-20595, United States of America
    16     vs. Yousef Ramadan. Back on the record. You may be seated.
    17                THE COURT: Your next witness?
    18                MS. FITZHARRIS: Good morning, Your Honor. May
    19     Mr. Ramadan be unhandcuffed for these proceedings?
    20                THE COURT: Yes.
    21                MS. FITZHARRIS: Thank you.
    22                MR. DENSEMO: Your Honor, we would like to call
    23     Asma Ramadan.
    24                MS. RAMADAN: Asma Ramadan.
    25                THE COURT REPORTER: Please raise your right hand.


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     1                 Do you solemnly swear or affirm that the testimony
     2     you are about to give this Court will be the truth, the whole
     3     truth, and nothing but the truth, so help you God?
     4                 MS. RAMADAN: I do.
     5                                 ASMA RAMADAN,
     6     called at about 1:25 p.m., was examined and testified on her
     7     oath as follows:
     8                               DIRECT EXAMINATION
     9     BY MR. DENSEMO:
    10     Q.   Ms. Ramadan, state your full name.
    11     A.   Asma Hamad (phonetic) Ramadan.
    12     Q.   And are you related to Yousef Ramadan?
    13     A.   I'm his sister.
    14     Q.   And is Jeanine Ramadan your sister -- sister-in-law?
    15     A.   Yes.
    16     Q.   Were you at the airport on August 15th, 2017?
    17     A.   Yes.
    18     Q.   Did you speak with a Special Agent Michael --
    19                 MR. WATERSTREET: Your Honor, can we ask to be
    20     non-leading questions, please?
    21                 THE COURT: Sustained.
    22                 MR. WATERSTREET: Thank you.
    23     BY MR. DENSEMO:
    24     Q.   Did you speak to a someone who identified themself as --
    25                 MR. WATERSTREET: Your Honor, just did you speak?


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     1                THE COURT: Yes. No leading questions.
     2                MR. DENSEMO: Okay. Fine.
     3     BY MR. DENSEMO:
     4     Q.   Did you go some place airport?
     5     A.   I was downstairs where the package claim at, and a
     6     special agent, he was on the stand here earlier, came out and
     7     talked to Jeanine, and I went to him and I was like what's
     8     going on. And he was like I don't want to talk to you, who
     9     are you, and I told him I'm Yousef's sister. He is like I
    10     can't talk to you. He was only talking to Jeanine until
    11     Jeanine told him Yousef wife -- until Yousef wife told him
    12     that it's okay, you can talk in front of her.
    13                MR. WATERSTREET: Hearsay, Your Honor.
    14                MR. DENSEMO: This is a suppression hearing;
    15     hearsay is admissible.
    16                THE COURT: Overruled.
    17     BY MR. DENSEMO:
    18     Q.   Go right ahead.
    19     A.   Until he said --
    20                THE COURT: I'm going to ask you to slow down a
    21     little bit, please.
    22     A.   Okay. Jeanine said it is okay for him it talk in front
    23     of me. And then he was like Yousef is going to stay here, if
    24     he doesn't cooperate he's going to stay in custody.
    25     Q.   Okay.


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     1     A.   She talked to him for a couple more minute, and then he
     2     went in for like a half hour, and then he came back and he
     3     had a photo on his phone.
     4     Q.   A photo of what?
     5     A.   It was like a little black thing.
     6     Q.   It looked like a pipe bomb?
     7     A.   Yes.
     8     Q.   And he showed that to you and Jeanine?
     9     A.   Yes.
    10     Q.   What happened next?
    11     A.   And then he's like I'm going -- he went back, and he
    12     talked to Jeanine. He was like I want to talk to Jeanine for
    13     herself. He talked to her for a few minute, and then he went
    14     back.
    15     Q.   Okay. Thank you. Hold on for a second in case the
    16     government has any questions.
    17                 MR. WATERSTREET: Yes, I have a few questions.
    18                               CROSS-EXAMINATION
    19     BY MR. WATERSTREET:
    20     Q.   Ma'am, is this the first time you have come to this
    21     courthouse today? Have you been here for every single
    22     proceeding?
    23     A.   Yes.
    24     Q.   Okay. And you knew this information for how long?
    25     Since I would say -- what is it, August 15th, 2017?


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     1     A.   Yeah.
     2     Q.   Okay. And you sat into the proceedings all of these
     3     times as well listening to the testimony of the witnesses?
     4     A.   Yes.
     5     Q.   Okay. And you understood there was a court order that
     6     said any potential witnesses cannot sit in the courtroom and
     7     listen to the testimony of other witnesses, right?
     8                 MR. DENSEMO: Excuse me, Your Honor.
     9     A.   No.
    10                 MR. DENSEMO: Excuse me, Your Honor. There was a
    11     -- Mr. Waterstreet --
    12                 THE COURT: There was a what? I'm sorry.
    13                 MR. DENSEMO: There was a sequestration order. We
    14     indicated -- we being the defense had indicated to
    15     Ms. Ramadan that we had no intention of calling her as a
    16     witness. She only became a witness after Agent Thomas'
    17     testimony, which the Court could see took me by surprise that
    18     he had said that he had spoken with a Jeanine Ramadan. We
    19     had no information whatsoever from the United States -- from
    20     the U.S. Attorney's Office that Agent Thomas had spoke into
    21     Jeanine Ramadan, and this had never come up with any
    22     conversation that we had with this particular witness, so we
    23     had no reason to order her out of the courtroom.
    24     Agent Thomas' testimony today is what triggered this
    25     testimony.


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     1                THE COURT: All right. I will allow you to
     2     continue, however. Go ahead.
     3                MR. WATERSTREET: Thank you.
     4     BY MR. WATERSTREET:
     5     Q.   So you've sat in on all of the other proceedings,
     6     correct?
     7     A.   Yes, but --
     8     Q.   Okay. Is that correct? Yes or no?
     9     A.   I was here for all of the court --
    10     Q.   Okay. And all of these other times which you have had a
    11     chance to talk to defense counsel -- you have talked to them
    12     after every proceeding, have you not?
    13     A.   Almost, yeah.
    14     Q.   Okay. And did you ever bring this up before to them?
    15     A.   No, because --
    16     Q.   A simple yes or no, ma'am.
    17     A.   Let me finish, please.
    18     Q.   Ma'am, it is a simple yes or no.
    19     A.   Let me finish, please.
    20                THE COURT: Wait a minute. Ma'am, you can only
    21     answer the question asked, and your attorney will come up
    22     later and ask you to explain.
    23     A.   Okay.
    24     BY MR. WATERSTREET:
    25     Q.   And you never mentioned this at any time to any of those


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     1     attorneys, correct?
     2     A.     No.
     3     Q.     Okay. And are you the -- do you go and visit your
     4     brother often at the Milan County -- I mean the Milan federal
     5     facility?
     6     A.     Almost every week, yes.
     7     Q.     And did you meet with him on February 22nd, 2008?
     8                  MR. DENSEMO: Your Honor, we are going to object.
     9     A.     I don't remember.
    10                  MR. DENSEMO: Excuse me. Your Honor, we are going
    11     to object to this. This goes far beyond the limited
    12     questions that I asked on direct examination.
    13                  THE COURT: Yes, but it is cross. Overruled. But
    14     did you say 2008?
    15                  MR. WATERSTREET: 2018. Excuse me, Your Honor. My
    16     apologies.
    17     BY MR. WATERSTREET:
    18     Q.     February 22, 2018.
    19     A.     I can't remember. I say almost every visit I go visit
    20     him.
    21     Q.     And did you make any notes of this conversation that you
    22     had with -- that you overheard between the agent and your
    23     sister-in-law?
    24                  MR. DENSEMO: Excuse me, Your Honor. That's a
    25     mischaracterization. Ms. Ramadan said that the agent had a


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     1     conversation with her.
     2                THE COURT: Rephrase your question.
     3     BY MR. WATERSTREET:
     4     Q.   Well, did you have your notes of any of this
     5     conversation at all?
     6     A.   What do you mean notes?
     7     Q.   Did you write down any notes of what the conversation
     8     was about?
     9     A.   No.
    10     Q.   Okay. Did you write down any notes when you went to
    11     visit your brother?
    12     A.   You are not allowed to have anything with me when I go
    13     visit him.
    14     Q.   After you visit him, do you write down any notes of what
    15     you discuss?
    16     A.   No.
    17     Q.   Okay. And when your sister was released by CPB she was
    18     given back all of the items, was she not?
    19     A.   She is not my sister.
    20     Q.   Sister-in-law. My apologies.
    21     A.   No, she is not. She did not have everything back.
    22     Q.   Well, did she have the holsters for the guns?
    23     A.   Holsters?
    24     Q.   The holsters --
    25     A.   I don't know what they are.


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     1     Q.   Okay. So where did she go after --
     2                MR. DENSEMO: Excuse me. Judge, again, I object to
     3     this line of questioning. I don't see how this has anything
     4     to do with the very limited questions I asked Ms. Ramadan
     5     about the brief conversation that she had with Agent Thomas.
     6                THE COURT: Okay. Is it a suppression hearing.
     7     I'm going to be -- allow this testimony. Go ahead, to a
     8     limited fashion, Counsel.
     9                MR. WATERSTREET: I'm going to try to keep it short
    10     and sweet as possible, Your Honor.
    11     BY MR. WATERSTREET:
    12     Q.   What did your sister-in-law do with all the items that
    13     the CBP gave to her?
    14     A.   I don't know.
    15     Q.   Did she come home with you?
    16     A.   She wasn't living with you.
    17     Q.   She was not living with you?
    18     A.   No.
    19     Q.   You don't know where -- where was she living?
    20     A.   No. I know where she live at, at my other sister house.
    21     Q.   Who is that?
    22     A.   My sister.
    23     Q.   Who is your sister, what's her name?
    24     A.   Somya.
    25     Q.   Okay.


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     1                 THE COURT: What was it?
     2     A.   Somya.
     3                 THE COURT: How do you spell that, ma'am?
     4     A.   S-O-M-Y-A.
     5                 THE COURT: Thank you.
     6     A.   You are welcome.
     7     BY MR. WATERSTREET:
     8     Q.   Now, I assume that Yousef is your brother, correct?
     9     A.   Yes.
    10     Q.   And do you share the same mother?
    11     A.   Yes.
    12     Q.   I'm going to show you a photograph --
    13                 MR. DENSEMO: May we see what you are showing the
    14     witness?
    15                 MR. WATERSTREET: This is I.
    16                 MR. DENSEMO: Are you kidding me? Are you kidding
    17     me? Your Honor, we object. I can't imagine what the purpose
    18     of showing this witness a picture of a woman with firearms in
    19     her hands has to do with what I asked on direct examination.
    20     We object.
    21                 THE COURT: Counsel, just a minute. The Court has
    22     already indicated it was allowing a broader
    23     cross-examination.
    24     BY MR. WATERSTREET:
    25     Q.   Do you recognize the woman in E-1?


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     1     A.   Yes.
     2                 MR. DENSEMO: One, is this the same photograph that
     3     we have?
     4                 MR. WATERSTREET: Yes, yes, it is.
     5     BY MR. WATERSTREET:
     6     Q.   You recognize that woman?
     7     A.   Yes.
     8     Q.   Who is that?
     9     A.   My mom.
    10     Q.   Okay. Do you recognize the woman in E-2?
    11                 MR. DENSEMO: We don't have E-2.
    12                 MS. FITZHARRIS: We don't have E-2.
    13     BY MR. WATERSTREET:
    14     Q.   Do you recognize the woman in E-2?
    15     A.   Yes.
    16     Q.   Who is that?
    17     A.   Jeanine.
    18     Q.   That's your brother's wife?
    19     A.   Yes.
    20     Q.   Do you recognize the woman in E-3?
    21     A.   Yes.
    22     Q.   Have you seen any of those firearms that appear in E-1,
    23     E-2 or E-3 before?
    24                 MR. DENSEMO: Objection, Your Honor.
    25                 THE COURT: Just a minute. Who is E-3? What did


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     1     you show?
     2     BY MR. WATERSTREET:
     3     Q.   Is that your sister-in-law Jeanine?
     4     A.   Yes.
     5                 THE COURT: So she is E-2 and E-3?
     6                 MR. WATERSTREET: Yes, Your Honor.
     7                 THE COURT: Now the objection.
     8                 MR. DENSEMO: Judge --
     9                 MR. WATERSTREET: Directing --
    10                 MR. DENSEMO: -- even with latitude that question
    11     has -- is irrelevant. It has absolutely nothing to do with
    12     this woman's testimony about a conversation with Special
    13     Agent Thomas.
    14                 THE COURT: Sustained.
    15     BY MR. WATERSTREET:
    16     Q.   Have you ever seen any of those firearms before?
    17                 THE COURT: No, I sustained that objection.
    18                 MR. WATERSTREET: Oh, I'm sorry.
    19     BY MR. WATERSTREET:
    20     Q.   Have you ever seen your brother with any firearms?
    21                 MR. DENSEMO: Objection, Your Honor. Same
    22     objection.
    23                 THE COURT: No, overruled.
    24     BY MR. WATERSTREET:
    25     Q.   Have you ever seen your brother before with any


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     1     firearms?
     2     A.   He has guns that he has license to.
     3     Q.   He has guns. What kind of guns?
     4     A.   I don't know. I'm not an expert.
     5     Q.   Okay. Are they any of the guns that appear in any of
     6     those photographs?
     7                 MR. DENSEMO: Your Honor --
     8     A.   I don't remember.
     9     BY MR. WATERSTREET:
    10     Q.   You don't remember?
    11                 THE COURT: Just a minute.
    12                 MR. DENSEMO: This has absolutely nothing to do
    13     with a suppression issue whatsoever.
    14                 THE COURT: She is asking about -- you are asking
    15     about defendant's guns.
    16                 MR. WATERSTREET: Right.
    17                 THE COURT: Overruled.
    18     BY MR. WATERSTREET:
    19     Q.   Have you ever seen any of these guns that appear in E-1,
    20     E-2 or E-3 in the possession of the your brother?
    21     A.   I'm not a gun expert. I don't know. I don't remember.
    22     Q.   Well, I'm not asking you to be an expert. Have you ever
    23     seen this type of weapon before?
    24     A.   They all look like each other to me.
    25     Q.   Every one of these look alike to you?


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     1     A.   To me, yeah.
     2     Q.   The rifle with the scope --
     3     A.   This one looks like this --
     4     Q.   -- looks exactly like this one in E-2?
     5                MR. DENSEMO: Objection, Your Honor; he's arguing
     6     with the witness.
     7                THE COURT: Sustained.
     8                MR. WATERSTREET: I have no further questions.
     9     Thank you, Your Honor.
    10                THE COURT: Anything further?
    11                             REDIRECT EXAMINATION
    12     BY MR. DENSEMO:
    13     Q.   Ms. Ramadan, the -- when you heard Agent Thomas testify
    14     today, did that trigger in your mind the conversation that
    15     you had?
    16                MR. WATERSTREET: Objection to the leading nature,
    17     Your Honor.
    18     A.   When I -- when I heard the --
    19                THE COURT: I did not hear -- did it trigger in
    20     your mind --
    21                MR. WATERSTREET: Objection, leading.
    22                THE COURT: Are you asking what did it trigger in
    23     her mind or were you going to say what it triggered in her --
    24                MR. DENSEMO: I'm asking her what.
    25                THE COURT: Okay. Overruled.


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     1     A.   When I heard him talk today and he swore to tell the
     2     truth, I remembered what he said. I did not talk to him
     3     because I thought it wasn't important because I thought he
     4     was going to say the truth, but when he came here and he
     5     swore and he tell the truth, he did not tell everything.
     6     That's when I came up to the -- to Mr. Andrew, and I told him
     7     I remember what happened at the airport, and I told him
     8     everything.
     9                MR. DENSEMO: Thank you, Ms. Ramadan. Nothing
    10     further.
    11                MR. WATERSTREET: Move for the admissions of E-1, 2
    12     and 3, Your Honor.
    13                MR. DENSEMO: We object, Your Honor. They are
    14     irrelevant and immaterial.
    15                THE COURT: Okay. The Court will allow them.
    16                (Government's Exhibits E-1, E-2 and E-3 received
    17                into evidence.)
    18                THE COURT: You may step down, ma'am. Thank you.
    19                (Witness excused at 1:37 p.m.)
    20                THE COURT: Your next witness?
    21                MS. FITZHARRIS: CBP Agent James Brown.
    22                MR. WATERSTREET: Sorry. We have these
    23     electronically, but we are not hooked up because defense has
    24     theirs hooked up.
    25                THE COURT: Okay.


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     1                THE COURT REPORTER: Would you please raise your
     2     right hand.
     3                Do you solemnly swear or affirm that the testimony
     4     you are about to give this Court will be the truth, the whole
     5     truth, and nothing but the truth, so help you God?
     6                AGENT BROWN: I do.
     7                              AGENT JAMES BROWN,
     8     called at about 1:38 p.m., was examined and testified on his
     9     oath as follows:
    10                               DIRECT EXAMINATION
    11     BY MS. FITZHARRIS:
    12     Q.   Good afternoon, Officer Brown.
    13     A.   Good morning. How are you?
    14     Q.   I'm all right. How are you?
    15     A.   Good.
    16     Q.   Where do you work?
    17     A.   Right now I'm a Joint Terrorism Task Force. I'm CBPO
    18     assigned to the Joint Terrorism Task Force
    19     Q.   There are a lot of acronyms. What does CPBO stand for?
    20     A.   Customs and Border Protection officer.
    21                THE COURT REPORTER: Excuse me. Can you slow down?
    22                MS. FITZHARRIS: Sure.
    23     BY MS. FITZHARRIS:
    24     Q.   How long have you worked for the Customs and Border
    25     Protection Agency?


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     1     A.     I have worked for Customs and Border Protection for
     2     22 years.
     3     Q.     How long have you been on the Joint Terrorism Task
     4     Force?
     5     A.     About a year and-a-half.
     6     Q.     Were you on the Joint Terrorism Task Force on
     7     August 15th, 2017?
     8     A.     Yes, ma'am.
     9     Q.     And so do you remember meeting Yousef Ramadan on that
    10     day?
    11     A.     I do.
    12     Q.     After you -- after you met with Mr. Ramadan, did you
    13     write any reports?
    14     A.     I personally did not, no.
    15     Q.     Did you assist in writing any reports?
    16     A.     I was a co-author on a report, yes.
    17     Q.     Who was your co-author on that report?
    18     A.     Special Agent Thomas.
    19     Q.     Did you take any handwritten notes of your -- of the
    20     interview?
    21     A.     No, I did not.
    22     Q.     Did you send any text messages to anyone about
    23     Yousef Ramadan?
    24     A.     Yes, I did.
    25     Q.     Who did you send text messages to?


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     1     A.   Special Agent Thomas.
     2     Q.   Have you ever turned over every text message you sent to
     3     Special Agent Thomas?
     4     A.   Yes.
     5     Q.   Did you post anything about Yousef Ramadan on any social
     6     media?
     7     A.   Oh, no.
     8     Q.   Did you write any e-mails about Yousef Ramadan?
     9     A.   Official e-mails or personal e-mails?
    10     Q.   Either one.
    11     A.   I don't recall -- I do not -- I can definitely tell you
    12     no on any personal e-mails because I don't have any social
    13     media myself, but probably e-mails back and forth to other
    14     agents.
    15                 MS. FITZHARRIS: Your Honor, if they were about
    16     Mr. Ramadan we ask at this time that the government produce
    17     the e-mails that Officer Brown wrote about Yousef Ramadan
    18     under Rule 26.2.
    19                 MR. WATERSTREET: Could we get the time limitation,
    20     Your Honor, because we have handed over the reports that
    21     relate to the night -- the night and early morning because
    22     that's what they -- counsel swore this was the only subject
    23     of cross-examination on, and we have handed over all of
    24     those. So if they want some prospective ones --
    25                 THE COURT: Ask him --


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     1                MS. FITZHARRIS: But he's talking -- if they are
     2     e-mails about --
     3                THE COURT: Just a minute, just a minute. Ask him
     4     when he wrote these and the time.
     5     BY MS. FITZHARRIS:
     6     Q.   When you write these e-mails?
     7     A.   The e-mails that I remember are the e-mails that went
     8     back and forth to the agents after -- when they would ask me
     9     about different reports, I would send reports because that's
    10     my job as liaison between Customs and Border Protection and
    11     the FBI.
    12     Q.   So they were e-mails about the interview of
    13     Yousef Ramadan on August 15th and August 16th?
    14     A.   There were all sorts of e-mails not just --
    15     Q.   But there were some about the interview with
    16     Yousef Ramadan?
    17                THE COURT REPORTER: Slow down.
    18                MS. FITZHARRIS: Yep.
    19     BY MS. FITZHARRIS:
    20     Q.   Were there some e-mails about the interview of
    21     Yousef Ramadan on August 15th and August 16th?
    22     A.   Yes, ma'am.
    23                MS. FITZHARRIS: Your Honor, I ask that those
    24     e-mails that agent -- that Officer Brown wrote about the
    25     interview of Yousef Ramadan on August 15th and August 16th be


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     1     turned over.
     2                THE COURT: Okay. You may have those.
     3                MR. WATERSTREET: Your Honor, I have handed over
     4     those. We can maybe ask a question. Were these e-mails
     5     about what you saw and what you did that day?
     6     A.   No. They were e-mail requests for different reports and
     7     back and forth.
     8                THE COURT: Okay. Do you --
     9     A.   E-mails about that. They were not e-mails about
    10     specific -- anything that happened from me to write a report
    11     on, no.
    12     BY MS. FITZHARRIS:
    13     Q.   All right. The question was not about whether you were
    14     ask to write report, it was about the subject of those. Were
    15     those e-mails about the interview of Mr. Yousef Ramadan on
    16     August 15th and 16th?
    17     A.   About the -- yes.
    18     Q.   Were they e-mails about the search of his media devices
    19     on August 15th and August 16th?
    20     A.   They were e-mails, but they were turned over, yes,
    21     ma'am.
    22     Q.   How many e-mails did you write about the interview of
    23     Yousef Ramadan and the search of his property?
    24     A.   I do not recall how many, ma'am.
    25                MS. FITZHARRIS: Your Honor, based on


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     1     Officer Brown's testimony, it sounds like there are e-mails
     2     that exist that have not been provided to them [sic] so we
     3     are moving for production of those e-mails at this time.
     4                THE COURT: All right. I'm going to order that the
     5     e-mails be turned over. They may already have been turned
     6     over. They may be exactly the e-mails you are talking about.
     7     That will have to be clarified. Okay. Go ahead.
     8                MS. FITZHARRIS: I will put on the record, Your
     9     Honor, the defense has not received any e-mails that
    10     Agent Brown wrote -- or Officer Brown wrote.
    11                THE COURT: Okay. So you have no e-mails?
    12                MS. FITZHARRIS: We have no e-mails that
    13     Officer Brown authored.
    14                THE COURT: All right. Thank you.
    15     BY MS. FITZHARRIS:
    16     Q.   When you joined the Joint Terrorism Task Force, did you
    17     attend any special training?
    18     A.   Yes, ma'am.
    19     Q.   And it is training about counterterrorism measures?
    20     A.   Yes, ma'am.
    21     Q.   I assume at that training you learned about various
    22     terrorist organizations?
    23     A.   Yes, ma'am.
    24     Q.   So you learned about ISIS? You learned about ISIS?
    25     A.   I've learned about ISIS, yes, ma'am.


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     1     Q.   And you've learned about Hamas?
     2     A.   Yes, ma'am.
     3     Q.   And you've learned about Hezbollah?
     4     A.   Yes.
     5     Q.   And I'm sure you learned that they are very different
     6     groups?
     7     A.   Yes, ma'am.
     8     Q.   I am sure you also learned that Hamas has declared war
     9     on -- or ISIS has declared on Hamas?
    10     A.   Yes, ma'am.
    11     Q.   So it is not likely that somebody who supports Hamas
    12     also supports ISIS?
    13                 MR. WATERSTREET: Objection to speculation.
    14     A.   I'm sorry. Could you repeat that?
    15                 THE COURT: Overruled. You may answer.
    16     BY MS. FITZHARRIS:
    17     Q.   Not not likely that somebody who supports Hamas also
    18     supports ISIS?
    19     A.   Well, I did agree with you.
    20     Q.   Okay. ISIS is killing people -- Hamas people?
    21     A.   Yes, ma'am.
    22     Q.   And Hamas people are killing ISIS people?
    23     A.   Yes, ma'am.
    24     Q.   So you disagree -- and you disagree that somebody could
    25     support both?


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     1     A.   Well, no, ma'am.
     2     Q.   So you agree; it is not likely that somebody supports
     3     both?
     4                Who are you looking at over here by the way?
     5     A.   I'm just looking. Am I not allowed to look?
     6     Q.   You are but --
     7     A.   I will look over here if you want it.
     8     Q.   You keep turning your eyes so I'm just curious who you
     9     are looking at.
    10     A.   I'm just looking, ma'am.
    11     Q.   So you agree with me, it is unlikely that someone would
    12     support both Hamas and ISIS?
    13     A.   Unlikely.
    14     Q.   Okay. I'm sure you also have heard about terms like
    15     caliphate?
    16     A.   I have.
    17     Q.   And caliphate means a lot of different things to
    18     different Muslims, right?
    19     A.   I think it means one thing.
    20     Q.   What do you think it means?
    21     A.   I think it means to take Muslim state -- to create a
    22     Muslim state.
    23     Q.   But there are different forms of states, right? We have
    24     dictatorial states?
    25     A.   I'm sorry.


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     1     Q.   There are dictatorial states?
     2     A.   Dictatorial states meaning --
     3     Q.   There are republics?
     4     A.   Uh-huh.
     5     Q.   Yes?
     6     A.   Yes.
     7     Q.   There are democracies?
     8     A.   Yes.
     9                 MR. WATERSTREET: Your Honor --
    10     BY MS. FITZHARRIS:
    11     Q.   And an Islamic state could be one of those three?
    12                 MR. WATERSTREET: -- I'm trying to find the
    13     relevance that this has to do with the events of the 15th and
    14     16th.
    15                 MS. FITZHARRIS: Your Honor, Mr. Ramadan was
    16     questioned about his views of the caliphate, and that was one
    17     of the things that has been mentioned as being suspicious,
    18     and so this line of questioning is along the lines of how
    19     suspicious is it if somebody believe in the idea of a
    20     caliphate.
    21                 THE COURT: Overruled, overruled. Go ahead.
    22     BY MS. FITZHARRIS:
    23     Q.   So a caliphate could be a democracy in someone's mind --
    24     in a Muslim's mind?
    25     A.   Yes, ma'am.


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     1     Q.   And a caliphate can be peaceful?
     2     A.   Yes, ma'am.
     3     Q.   And, in fact, Yousef Ramadan told you that he supported
     4     a peaceful -- peaceful path to a caliphate?
     5     A.   He did, he did.
     6     Q.   As a member of the CBP, you have also been trained in
     7     searches; how to conduct a proper search?
     8     A.   Yes, ma'am.
     9     Q.   And that includes searches of digital media?
    10     A.   Yes, ma'am.
    11     Q.   And are you -- are you familiar with the term advanced
    12     search of digital media?
    13     A.   Advance search of digital media, no, ma'am.
    14     Q.   You are not. Are you familiar with the policy on media
    15     searches that was issued on January 4th, 2018?
    16                MR. WATERSTREET: Excuse me. What was the date of
    17     that?
    18                MS. FITZHARRIS: I said January 4th, 2018.
    19                MR. WATERSTREET: What does a -- what does a policy
    20     after the events have to do with this matter, Your Honor?
    21                MS. FITZHARRIS: It has --
    22                MR. WATERSTREET: What's the relevancy?
    23                MS. FITZHARRIS: Is it those do with terminology.
    24     So if CBP was using terms like -- this policy talks about
    25     basic searches and advanced searches. And if Your Honor


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     1     remembers in Cotterman and a variety of other cases, there's
     2     a lot of talk about the difference between routine searches,
     3     manual searches and forensic searches.
     4                THE COURT: Yes, but anything that happened, a rule
     5     or a promulgation of something, as of January 4th, 2018 was
     6     after the fact.
     7                MS. FITZHARRIS: Well, I'm exploring whether he
     8     knew this.
     9                THE COURT: I sustain the objection.
    10     BY MS. FITZHARRIS:
    11     Q.   Before January 4th, 2018, had you heard of a term
    12     advanced search?
    13     A.   On social media?
    14     Q.   Digital media, computers?
    15     A.   I don't recall that, ma'am.
    16     Q.   Okay.
    17     A.   I don't recall that term.
    18     Q.   And you would agree with me though there are different
    19     types of searches of digital devices?
    20     A.   Yes, ma'am.
    21     Q.   There is turning one on? You can turn one on?
    22     A.   Yes, ma'am.
    23     Q.   And you can just scroll through things on someone's
    24     phone, for example?
    25     A.   Yes, ma'am.


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     1     Q.   And sometimes you hook digital devices up to CBP
     2     equipment, right?
     3     A.   Yes, ma'am.
     4     Q.   And you maybe connect a USB cord to the digital device?
     5     A.   Say that again.
     6     Q.   Sometimes you connect a USB cord or something like that
     7     to a digital device?
     8     A.   I don't know what or something like that means.
     9     Q.   A USB cord -- sometimes you connect a digital device
    10     with a USB cord to CBP equipment?
    11     A.   Yes, ma'am.
    12     Q.   And you have software that facilitates reviewing
    13     materials on digital devices, yes?
    14     A.   Some of this is classified. Am I supposed to answer
    15     this in court?
    16                THE COURT: You can answer that question.
    17     A.   Okay. Yes, ma'am.
    18                THE COURT: Don't give the details, just that you
    19     have.
    20     A.   Yes, ma'am.
    21     BY MS. FITZHARRIS:
    22     Q.   And there's -- is there software that allows you to use
    23     search terms?
    24     A.   Search terms, can you explain that to me, please?
    25     Q.   Search terms like terrorist and you plug that in like


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     1     Google and you see what comes up?
     2     A.   I'm not familiar with using anything like that, ma'am.
     3     Q.   Okay. Do you conduct any searches of digital media?
     4     A.   In my 22 years I have never completed one with
     5     connecting a USB port to a --
     6     Q.   How do you usually conduct --
     7     A.   I physically go through --
     8                THE COURT: Wait a minute. Let him finish, but,
     9     sir, would you speak into the microphone? I'm having trouble
    10     hearing you.
    11     A.   Yes, ma'am. Would this be better?
    12                THE COURT: That's much better.
    13     A.   Thank you. Sorry.
    14     BY MS. FITZHARRIS:
    15     Q.   How do you usually review digital media?
    16     A.   I usually go through it manually, ma'am.
    17     Q.   Okay. If you have a hard drive where you can't manually
    18     search it, how do you go about searching a hard drive?
    19     A.   I rely on one of my other officers to take care of that
    20     for me.
    21     Q.   Okay. Have you seen one of the other officers conduct
    22     that kind of search?
    23     A.   I have seen them, yes, ma'am.
    24     Q.   And describe to us, what does the officer do in order to
    25     search a hard drive?


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      1    A.   They -- a hard drive?
      2               MR. WATERSTREET: What is the -- what's the
      3    relevancy of how somebody else does a search? We have
      4    already had the testimony of Officer Armentrout and what they
      5    did in this case.
      6               THE COURT: Sustained. Just keep it to this case.
      7               MS. FITZHARRIS: Well --
      8               THE COURT: Keep it to this case here.
      9    BY MS. FITZHARRIS:
    10     Q.   Okay. In Mr. Ramadan's case, how did CBP officers
    11     review his hard drive?
    12     A.   A standalone computer, ma'am.
    13     Q.   And how did they connect his hard drive to the
    14     standalone computer?
    15     A.   I think with a USB port.
    16     Q.   And how -- and that -- that review of the digital
    17     devices started at what time?
    18     A.   I can't recall the time it started, ma'am.
    19     Q.   Was it after Mr. Ramadan was in the interrogation room?
    20     A.   We don't have interrogation rooms, ma'am.
    21     Q.   Was it after Mr. Ramadan was in the interview room?
    22     A.   I believe, yes, after he was in an interview room.
    23     Q.   How soon after he was in an interview room?
    24     A.   I can't answer that. I wasn't there at the time.
    25     Q.   Where were you when Mr. Ramadan was placed in the


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      1    interview room?
      2    A.   Which time, ma'am?
      3    Q.   The first time.
      4    A.   I was on the road. I was on my way home.
      5    Q.   Okay. And why did you turn around and return to the
      6    airport?
      7    A.   I got a phone call.
      8    Q.   Who called you?
      9    A.   Officer Schmeltz.
    10     Q.   What did Officer Schmeltz tell you?
    11     A.   I'm sorry?
    12     Q.   What did Officer Schmeltz say to you?
    13     A.   Officer Schmeltz told me what was going on, told me that
    14     they had a lot of stuff -- tactical stuff, said there's
    15     possible HSI warrant -- or not a warrant but HSI possible
    16     lookout, and at that point I turned around.
    17     Q.   So when you say he told you what was going on, what
    18     specifically had he told you had happened already?
    19     A.   I believe that he was -- he went through TSA, TSA found
    20     a large amount of tactical equipment in his bags and alerted
    21     CBP. CBP then went and looked at it, and made the judgment
    22     to pull him off the plane.
    23     Q.   You contacted Agent Michael Thomas -- you texted him at
    24     9:17 p.m.?
    25     A.   I don't recall exact the time.


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      1    Q.   Would anything refresh your recollection?
      2    A.   If you had the text.
      3    Q.   All right. I just handed you a document. Do you
      4    recognize that?
      5    A.   Yes.
      6    Q.   What is it?
      7    A.   That is -- the picture? What do you want me to
      8    describe?
      9    Q.   What does the document show?
    10     A.   The document shows a text message.
    11     Q.   And it's a text message from you to Michael Thomas?
    12     A.   Correct.
    13     Q.   And it's a text message about Yousef Ramadan?
    14     A.   It's about this tactical gear right here.
    15     Q.   And that tactical gear was found in Yousef Ramadan's
    16     checked bags?
    17     A.   Yes.
    18     Q.   And so it is a text about Yousef Ramadan?
    19     A.   It's a text about this gear right here.
    20     Q.   It says it right above it, have you are named his name
    21     in NCIS?
    22     A.   It's -- no, it says NCIC.
    23     Q.   NCIC, that's what it says. And who is he?
    24     A.   I'm sorry.
    25     Q.   Who is he, have you run his name?


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      1    A.   That would be Ramadan.
      2    Q.   All right. So at 9:17 you sent a text to Michael Thomas
      3    about Yousef Ramadan?
      4    A.   Correct.
      5    Q.   So you had been contacted by Officer Schmeltz before
      6    9:17 p.m.?
      7    A.   Correct.
      8    Q.   Where were you when you were contacted by
      9    Officer Schmeltz?
    10     A.   I was at Ford Road getting ready to go into
    11     White Castle.
    12     Q.   Okay. And when you sent this text message to
    13     Michael Thomas, where were you?
    14     A.   I was at the airport.
    15     Q.   So how long would it take you to get to the Ford Road
    16     White Castle to the airport?
    17     A.   It depends on traffic, but usually 15 or 20 minutes.
    18     Q.   All right. So that time of day that day, how long would
    19     you say it took you to get from the White Castle to the
    20     airport?
    21     A.   I don't recall how much time it took me.
    22     Q.   Was there much traffic on the road?
    23     A.   I don't recall that either.
    24     Q.   Is it fair to say it took perhaps 15 to 20 minutes?
    25     A.   That's fair.


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      1    Q.   So is it fair to say that you received a call from
      2    Officer Schmeltz right before 9:00 p.m.?
      3    A.   I don't recall.
      4    Q.   All right. When you arrived at the airport, were CBP
      5    agents already looking at officer -- Mr. Ramadan's hard
      6    drive?
      7    A.   I don't recall if they were already looking at his hard
      8    drive.
      9    Q.   When did you first look at the contents of his hard
    10     drive?
    11     A.   I don't recall that time either.
    12     Q.   How soon after you arrived at the airport did you look
    13     at contents of his hard drive?
    14     A.   Hmm -- I think it would have to be -- this is
    15     speculation. I would -- because I don't walk around looking
    16     at my watch so I don't know the time, but it would have to be
    17     at least maybe 30 to 45 minutes.
    18     Q.   Okay. So when you arrived at the airport, what did you
    19     do first?
    20     A.   I went and talked with Officer Schmeltz.
    21     Q.   And what did Officer Schmeltz tell you?
    22     A.   That he has been interviewing with Mr. Ramadan, talking
    23     to him, and that they found some type of materials on his
    24     hard drive and, you know, that he -- Mr. Ramadan was placed
    25     in handcuffs once already because Mr. Ramadan was being --


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      1    acting a little aggressively. And that was about it I think.
      2    Q.   Okay. When you arrived was Mr. Ramadan in handcuffs?
      3    A.   No.
      4    Q.   Where was he?
      5    A.   I don't recall.
      6    Q.   After you talked to Officer Schmeltz, what did you do
      7    next?
      8    A.   Officer Schmeltz went -- we interviewed -- he started
      9    talking with Mr. Ramadan again. Since Officer Schmeltz was
    10     by himself I stood with him, and that was about it.
    11     Q.   So you went into a room with Officer Schmeltz and
    12     Mr. Ramadan?
    13     A.   Yes.
    14     Q.   And you stood while Officer Schmeltz asked Mr. Ramadan
    15     questions?
    16     A.   More questions, yes.
    17     Q.   And was this one of the interview rooms?
    18     A.   At that point, yes.
    19     Q.   And it is one of the rooms where there's a window -- a
    20     window right next to the door?
    21     A.   There is a window next to the door.
    22     Q.   And there is a window between the two interview rooms?
    23     A.   There is an window there.
    24     Q.   And there is a table?
    25     A.   Yep, there is a table.


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      1    Q.   And a computer?
      2    A.   Yep, and a computer, misdemeanor.
      3    Q.   And there's a camera in the corner?
      4    A.   Yes, ma'am.
      5    Q.   And there is a microphone on the ceiling?
      6    A.   No microphone that I know of.
      7    Q.   Is it that you don't remember a microphone or there is
      8    not a microphone?
      9    A.   There is no microphone in that room.
    10     Q.   And on the other wall across from where the window to
    11     the other interview room, there is a plaque, like a bronze
    12     plaque?
    13     A.   I don't recall those.
    14     Q.   Is there anything that would help refresh your
    15     recollection?
    16     A.   If you've got a picture.
    17     Q.   I've just handed you a document. What does that
    18     document show?
    19     A.   I'm sorry, ma'am. Say that again, please.
    20     Q.   What does the document I just handed you show?
    21     A.   It shows 19 USC 1582.
    22     Q.   Is it a photograph?
    23     A.   All it is on this paper, yes, ma'am.
    24     Q.   And is it a photograph of the brass plaque that appears
    25     in -- on the walls in the CBP secondary inspection area?


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      1    A.    Yes, ma'am, I guess so.
      2    Q.    All right. And that plaque has two statutes written on
      3    it?
      4    A.    Yes, ma'am.
      5    Q.    And one of those statutes is a criminal statute for
      6    resisting or impeding officers or employees?
      7    A.    Assaulting or impeding, resisting, yes.
      8    Q.    And that is in the interview rooms where
      9    Officer Schmeltz questioned Mr. Ramadan?
    10     A.    If they are in there I have never paid attention to
    11     them, ma'am.
    12     Q.    But you don't disagree that they are in there?
    13     A.    I can't disagree or know.
    14                MS. FITZHARRIS: All right. Your Honor, at this
    15     moment I move to admit Exhibit C.
    16                THE COURT: What was your exhibit number?
    17                MS. FITZHARRIS: C, letter C like cat.
    18                THE COURT: Any objection?
    19                MR. WATERSTREET: Umm --
    20                THE COURT: It may be received.
    21                MR. WATERSTREET: Is that the document that was
    22     just shown?
    23                MS. FITZHARRIS: Correct.
    24                MR. WATERSTREET: Defense C as in cat?
    25                MS. FITZHARRIS: As in cat, yes.


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      1               MR. WATERSTREET: All right. No objection, Your
      2    Honor.
      3               THE COURT: All right.
      4               (Defendant's Exhibit C received into evidence.)
      5    BY MS. FITZHARRIS:
      6    Q.   And when you -- what were you wearing on that night when
      7    you met Mr. Ramadan?
      8    A.   I really couldn't tell you, ma'am.
      9    Q.   Were you in plainclothes?
    10     A.   Oh, yes, ma'am, I was in plainclothes.
    11     Q.   And you had your service weapon?
    12     A.   Yes, ma'am.
    13     Q.   You had handcuffs?
    14     A.   Not at that time.
    15     Q.   No? You went into the interview without handcuffs?
    16     A.   Yes, I did.
    17     Q.   Did you have handcuffs at any time?
    18     A.   I did earlier that day.
    19     Q.   That evening on August 15th or August 16th, did you have
    20     handcuffs?
    21     A.   What time?
    22     Q.   At any time during the night?
    23     A.   Well, yes, ma'am, I just told you that, during that day
    24     I had handcuffs.
    25     Q.   That night when you -- during the time between, let's


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      1    say, 9:30 p.m. and 4:00 in the morning, did at any point did
      2    you have handcuffs?
      3    A.   At that point I -- I found out I did not.
      4    Q.   At any point between that time period did you have
      5    handcuffs?
      6    A.   No, ma'am.
      7    Q.   At any time during that period did you use handcuffs?
      8    A.   No, ma'am.
      9    Q.   How many times was Mr. Ramadan handcuffed?
    10     A.   I don't know.
    11     Q.   How many times do you know Mr. Ramadan was handcuffed?
    12     A.   One time.
    13     Q.   And that was before you arrived?
    14     A.   Yes, ma'am.
    15     Q.   Is it that you don't recall that he was handcuffed any
    16     other time or you only know that he has handcuffed one time?
    17     A.   No, I don't -- I do not -- I know he was only handcuffed
    18     one time, ma'am, while --
    19     Q.   So if other people said that he has handcuffed more than
    20     once, they would be mistaken?
    21     A.   I can't answer for them, I can only answer for me, and I
    22     only know of one time.
    23     Q.   All right. So you were in the room with
    24     Officer Schmeltz when he was asking questions. How long did
    25     that questioning last?


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      1    A.   I don't recall the time frame, ma'am.
      2    Q.   And during that time you asked Mr. Ramadan about -- you
      3    asked about his travel plans or Officer Schmeltz asked about
      4    his travel plans?
      5    A.   I did not answer any questions, ma'am.
      6    Q.   Officer Schmeltz asked about Mr. Ramadan's travel plans?
      7    A.   I don't recall the questions that he answers -- or that
      8    he asked.
      9    Q.   You don't recall any questions that he answered.
    10                 During that time you were in with Officer Schmeltz,
    11     Mr. Ramadan did not want to answer any questions?
    12     A.   I believe he did not want to answer some questions at a
    13     time.
    14     Q.   He did not want to provide a pass code for his digital
    15     devices?
    16     A.   He did not for his phone, yes.
    17     Q.   In your opinion, he was uncooperative?
    18     A.   In my opinion?
    19     Q.   Yes.
    20     A.   He wasn't cooperative.
    21     Q.   All right. After you -- Officer Schmeltz finished
    22     asking Mr. Ramadan questions in the interview room, what did
    23     you do next?
    24     A.   I'm sorry. Repeat that, please.
    25     Q.   After Officer Schmeltz finished asking Mr. Ramadan


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      1    questions in the first interview room, what did you do next?
      2    A.   I walked out and looked at the -- all the gear that was
      3    laying on the bag belts.
      4    Q.   Did you know what was in all of those bags before you
      5    walked out?
      6    A.   No, ma'am.
      7    Q.   Okay. What time would you say it was that you walked
      8    out and looked at the gear on the bag belts?
      9    A.   Again, ma'am, I don't know the timeframes.
    10     Q.   Say -- you know, can you guess from the time you arrived
    11     how long -- how much time has passed?
    12     A.   Do I have to guess?
    13                MR. WATERSTREET: Objection, Your Honor, because he
    14     says I don't know and then she says just guess.
    15                MS. FITZHARRIS: If you can estimate --
    16                THE COURT: Don't guess, but if you can estimate
    17     when it was you should do that.
    18     A.   Which time?
    19     BY MS. FITZHARRIS:
    20     Q.   The first time you looked at the bags.
    21     A.   Probably about 8:30, 8:45.
    22     Q.   Then when did you go look at them again?
    23     A.   I don't know the time.
    24     Q.   So your guess is that you first looked at the bags -- so
    25     you were already back at the airport at 8:30 p.m.?


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      1    A.   Its my guess.
      2    Q.   All right. And so was it after that you looked at those
      3    bags that you texted Agent Thomas?
      4    A.   Well, I have to look at bags first, ma'am, before I can
      5    get this picture.
      6    Q.   Okay. So the answer is yes?
      7    A.   Yes, ma'am.
      8    Q.   Are you called for every Customs export violation?
      9    A.   No, ma'am.
    10     Q.   Is the Joint Terrorism Task Force called for every time
    11     an OFAC item is found?
    12     A.   No, ma'am.
    13     Q.   When is it that the Joint Terrorism Task Force is
    14     contacted when there is a Customs violation?
    15     A.   If the Customs and Border Protection finds that there
    16     might be -- might be a nexus to any type of terrorism I would
    17     get a phone call.
    18     Q.   And so because you were called CBP had already decided
    19     that there might be a nexus to terrorism?
    20     A.   They called me, yes.
    21     Q.   And you only get called if they think there is nexus to
    22     terrorism?
    23     A.   There is a possible nexus to terrorism, yes
    24     Q.   When you were in the room with Officer Schmeltz and
    25     Mr. Ramadan, just the three of you, did you ever tell


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      1    Mr. Ramadan that he had a right to remain silent?
      2    A.   I did not even speak at that point.
      3    Q.   Okay. Officer Schmeltz did not tell Mr. Ramadan he had
      4    a right to remain silent?
      5    A.   CBP does not do that, ma'am.
      6    Q.   Okay. But my question is, did he do that?
      7    A.   No.
      8    Q.   Did he tell Mr. Ramadan that he had a right to a lawyer?
      9    A.   No.
    10     Q.   Did he --
    11     A.   Not in my presence.
    12     Q.   Not in my presence? Okay. Is that something that CBP
    13     usually does?
    14     A.   No.
    15     Q.   But CBP does some training on interrogations, right?
    16     A.   We do not interrogate, ma'am.
    17     Q.   You've received training on Miranda?
    18     A.   Not much training on Miranda.
    19     Q.   But you know what Miranda is?
    20     A.   Yes, ma'am.
    21     Q.   And you have received training about when Miranda
    22     warnings must be read?
    23     A.   CPBO does not Mirandize.
    24     Q.   Have you received any training about when Miranda
    25     warnings should be read?


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      1    A.   Years ago, maybe.
      2    Q.   But you have received it?
      3    A.   Yes, ma'am.
      4    Q.   And CPB does train its officers about when Miranda
      5    warnings should be read?
      6    A.   Yes, ma'am. But, again, CBP does not Mirandize.
      7    Q.   So after you went and looked at the baggage a second
      8    time, what did you do next?
      9    A.   I think I looked at the stuff on the bag belt.
    10     Q.   Uh-huh.
    11     A.   That's about it. Waited for Special Agent Thomas.
    12     Q.   When Special Agent Thomas arrived, what did you two do?
    13     A.   We went into the command center where the officers were
    14     looking at some of the hard drives and media.
    15     Q.   How many officers were looking at the hard drives?
    16     A.   I believe it was just one.
    17     Q.   Who was that?
    18     A.   Officer Armentrout.
    19     Q.   Did any other -- did you at any time personally look
    20     through Mr. Ramadan's hard drive?
    21     A.   I looked at what Officer Armentrout showed me, so I did
    22     not personally go through his media, no.
    23     Q.   But you are aware that there were thousands of files on
    24     his hard drive?
    25     A.   I am aware.


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      1    Q.   It was a five-terabyte hard drive?
      2    A.   Yes. I don't know what a terabyte is but yes.
      3    Q.   Okay. But it stores a lot of data, five terabytes, you
      4    would agree?
      5    A.   I really don't know.
      6    Q.   Okay. After you look at Mr. Ramadan's hard drive, what
      7    did you do next?
      8    A.   I just looked at pictures. I did not look through his
      9    hard drive.
    10     Q.   After you looked at the photographs on his hard drive --
    11     that were on his hard drive, what did you do next?
    12     A.   We went and I believe we talked with Ramadan's wife.
    13     Q.   And her name is Jeanine Ramadan?
    14     A.   Yes, ma'am.
    15     Q.   And who talked with Mrs. Ramadan with you?
    16     A.   I believe it was myself, Special Agent Kelley and
    17     Special Agent Thomas.
    18     Q.   And where did you question Mrs. Ramadan?
    19     A.   In a little conference room, what we -- where we eat
    20     lunch. It was a more relaxed setting.
    21     Q.   And that conference room does not have any windows?
    22     A.   No.
    23     Q.   People who are in the CBP secondary inspection waiting
    24     area could not see it?
    25     A.   You could see in if you are standing right out in front


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      1    of the door, yes.
      2    Q.   But you just said there's no - but if the door -- but
      3    only if the door is open, right?
      4    A.   Only if the door is open, right.
      5    Q.   And that room has a round table?
      6                MR. WATERSTREET: Your Honor --
      7    A.   I believe it does.
      8                MR. WATERSTREET: Can we wait a moment because the
      9    defendant is talking quite loud. I can't hear the questions
    10     and answers going back and forth.
    11                 THE COURT: Okay. Please be careful. Write down
    12     your questions.
    13     BY MS. FITZHARRIS:
    14     Q.   There's a round conference table in that room?
    15     A.   Yes.
    16     Q.   And how many chairs are in that room?
    17     A.   I don't know.
    18     Q.   How long did you interview Mrs. Ramadan for?
    19     A.   Approximately a half hour.
    20     Q.   After you finished interviewing Mrs. Ramadan, what did
    21     you do next?
    22     A.   I believe we went and helped her get her bags together,
    23     and we helped -- went out and spoke with I think
    24     Mr. Ramadan's sister to make sure that Jeanine had a ride and
    25     to make sure that her children were taken care of.


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      1    Q.     And did you speak with Mrs. -- with Ms. Asma Ramadan,
      2    Yousef's sister?
      3    A.     I believe I might have been cordial, said hello, but
      4    nothing -- I don't recall any -- my questioning of her, no.
      5    Q.     Were you there when Agent Thomas spoke with
      6    Asma Ramadan?
      7    A.     I do, I was there.
      8    Q.     Do you remember what he said?
      9    A.     I believe he asked if they were living there, and she
    10     said yes.
    11     Q.     Was that the only time Agent Thomas spoke with
    12     Asma Ramadan?
    13     A.     I believe that's the only time we went out, yes.
    14     Q.     After you -- how many bags did Mrs. Ramadan leave with?
    15     A.     I can't answer that. I don't know. I know it was a
    16     lot.
    17     Q.     Did she leave with every bag that --
    18     A.     A bag out of CDP, yes.
    19     Q.     Yes. After Mrs. Ramadan left, what did you do next?
    20     A.     Went back into the conference -- or, excuse me, the
    21     command center.
    22     Q.     What did you do in the command center?
    23     A.     To look at more pictures.
    24     Q.     What pictures did you look at?
    25     A.     There were pictures of Mr. Ramadan shooting weapons,


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      1    there were pictures of Mr. Ramadan - YouTube videos that he
      2    had, different things like out in I believe Arizona or
      3    California it looked like. So it was, you know, basically
      4    about shooting weapons, being -- shooting the weapon over the
      5    seat, doing tactical maneuvers on his ATV, just stuff like
      6    that.
      7    Q.   And, you know, if he was allowed to possess a firearm
      8    everything he was doing was legal?
      9               THE COURT: I didn't hear --
    10     A.   Well, yes, ma'am --
    11                THE COURT: Just a minute. I didn't hear that
    12     question. Would you repeat it?
    13     BY MS. FITZHARRIS:
    14     Q.   If he was allowed to -- if he was legally permitted to
    15     possess firearms, everything he was doing in those videos is
    16     legal?
    17     A.   I have no evidence of anything illegal.
    18     Q.   So after you looked at those photographs of firearms and
    19     videos of tactical maneuvers, what did you do next?
    20     A.   We weren't and -- well, we -- I went out and used the
    21     restroom, I do remember that, because I had to go really bad,
    22     and then went back into the conference -- if I remember to
    23     the conference -- excuse me, to the command center, and asked
    24     Armentrout to give me a call if anything else popped up that
    25     was important.


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      1                We requested to speak with Mr. Ramadan at that
      2    point, and requested that we take him to the conference
      3    room -- what we call the conference room.
      4    Q.   So you said that you requested to speak with
      5    Mr. Ramadan?
      6    A.   Uh-huh.
      7    Q.   If he had said no, I don't want to talk, I want to go
      8    home, you wouldn't have let him go, would you?
      9    A.   In the role that I was in, I was there as JTTF, if he
    10     would have said no, I don't want to talk to you, I would have
    11     been done.
    12     Q.   But he was not permitted to go?
    13     A.   He was still in -- he was still with CBP until they
    14     released him, no.
    15     Q.   All right. When you -- so this conference room, you
    16     went into the conference room?
    17     A.   I did go into the conference room.
    18     Q.   And Agent Thomas went into the conference room?
    19     A.   Yes.
    20     Q.   And Agent -- Officer Schmeltz went into the conference
    21     room?
    22     A.   Yes.
    23     Q.   And somebody brought Mr. Ramadan into the conference?
    24     A.   Yes.
    25     Q.   Is that Officer Armentrout who brought Mr. Ramadan into


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      1    the conference room?
      2    A.   That I do not recall.
      3    Q.   So there were -- oh, and Agent Kelley was in the
      4    conference room?
      5    A.   Kelley was also in the conference room.
      6    Q.   So there were at least four federal agents in the
      7    conference room?
      8    A.   Yes.
      9    Q.   When Mr. Ramadan was brought in, he sat with his back to
    10     the door?
    11     A.   Yes.
    12     Q.   And Officer -- Agent Thomas sat across from him?
    13     A.   Across, can you --
    14     Q.   I know it's a round table --
    15     A.   Yes.
    16     Q.   -- but if you imagine just like a clock, so Mr. Ramadan
    17     is at 6:00 and Agent Thomas was at about 12:00?
    18     A.   Not to my knowledge, no.
    19     Q.   Okay. Where were you standing or sitting?
    20     A.   I was sitting -- if Mr. Ramadan was at the 12:00
    21     position, I was at the 7:00 position.
    22     Q.   And where was Agent Thomas sitting?
    23     A.   The 4:00 position.
    24     Q.   And Agent Kelley?
    25     A.   6:00.


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      1    Q.   And where was Officer Schmeltz?
      2    A.   I believe he was off into the corner.
      3    Q.   Did Officer Schmeltz have a service weapon with him?
      4    A.   I would imagine, yes, but I -- he was wearing
      5    plainclothes, I would hope he had his weapon with him.
      6    Q.   Did he have handcuffs?
      7    A.   Again, I can't tell you what he had on his body, I don't
      8    know.
      9    Q.   Did Agent Thomas had a service weapon with0 him?
    10     A.   I -- I -- did -- I can't answer that question --
    11     Q.   Okay.
    12     A.   -- because I can't see if he has a weapon on or not.
    13     Q.   Did Agent Kelley have a service weapon with him?
    14     A.   Again, ma'am, everyone is wearing civilian clothes, I
    15     can't tell if he has got a weapon under his shirt or not.
    16     Q.   Is it that you don't remember or that you --
    17                THE COURT: He said he couldn't tell. Let's move
    18     along, please.
    19     BY MS. FITZHARRIS:
    20     Q.   In that room who was asking the questions?
    21     A.   Agent Thomas.
    22     Q.   And was he the only one asking questions?
    23     A.   For the most part, yes, ma'am.
    24     Q.   Did at any point you ask questions?
    25     A.   Not a that point, no, ma'am.


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      1    Q.   What -- who else asked questions?
      2    A.   I believe Mr. Kelley might have asked one but not much.
      3    Agent Thomas handled most of it.
      4    Q.   He asked Mr. Ramadan about -- about ISIS?
      5    A.   He did.
      6    Q.   He asked Mr. Ramadan about the videos on his hard
      7    drive --
      8    A.   He did.
      9    Q.   -- that had some ISIS propaganda?
    10     A.   Yes.
    11     Q.   He asked Mr. Ramadan about Hamas?
    12     A.   I believe so. I'm not -- I don't know on that one. I
    13     can't recall.
    14     Q.   He asked Mr. Ramadan if he believed in the caliphate?
    15     A.   He did.
    16     Q.   Mr. Ramadan said he believes in a caliphate but believes
    17     in peacefulness?
    18     A.   He stated he believes in the caliphate and believed in
    19     what ISIS was doing, he just did not believe in the violence.
    20     Q.   Okay. And at any point did Agent Thomas tell
    21     Mr. Ramadan that he was a lone wolf?
    22     A.   I don't recall that.
    23     Q.   In addition to questions about -- did Agent Thomas ask
    24     Mr. Ramadan about the prophet Mohammad?
    25     A.   I don't recall that.


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      1    Q.   Did Agent Thomas say how is it possible to have a
      2    caliphate without violence?
      3    A.   I don't recall that exact question, no.
      4    Q.   Do you recall what Mr. Ramadan said, how it's possible
      5    to have a caliphate without violence?
      6    A.   No.
      7    Q.   Do you -- Agent Thomas asked Mr. Ramadan about firearms
      8    in that conference room?
      9    A.   Yes.
    10     Q.   And the firearms that you saw the photos of on the
    11     digital devices?
    12     A.   We asked if he had weapons.
    13     Q.   And you asked Mr. Ramadan if he had a license for those
    14     weapons?
    15     A.   I don't recall asking about a license.
    16     Q.   What do you recall asking about those weapons?
    17     A.   If he legally owned those weapons.
    18     Q.   Okay. And did you ask -- you asked where they were
    19     stored?
    20     A.   We did.
    21     Q.   And you asked -- did you ask if he had a felony
    22     conviction?
    23     A.   His criminal history was brought up, yes.
    24     Q.   And you learned that he did not have a felony
    25     conviction?


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      1    A.    I'm sorry, ma'am.
      2    Q.    And you learned that he did not have a felony
      3    conviction?
      4    A.    Yes, ma'am.
      5    Q.    You mentioned earlier this 2010 tip line?
      6    A.    Yes, ma'am.
      7    Q.    That's a call-in line that ICE runs?
      8    A.    HSI, yes, ma'am.
      9    Q.    HSI. And what you learned it could be anyone calling
    10     in?
    11     A.    Yes, ma'am.
    12     Q.    You don't know who is reporting it?
    13     A.    I do not know anything about it, ma'am.
    14     Q.    Okay. So it is kind of like an anonymous tip?
    15     A.    It is.
    16     Q.    And did you ask Mr. Ramadan about that 2010 tip?
    17     A.    I don't recall asking that question about that tip.
    18     Q.    Did you ask anything about the 2010 -- anything having
    19     to do with the 2010 incident?
    20     A.    We asked him about the situations, why would somebody do
    21     that, what was this about. He stated that he trusts no one,
    22     he had an incident with his wife at one point, and that was
    23     it.
    24     Q.    You also asked Mr. Ramadan about pipe bombs?
    25     A.    Say it again.


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      1    Q.   You asked Mr. Ramadan about pipe bombs?
      2    A.   In this conference room setting that you are still
      3    talking about?
      4    Q.   Yes.
      5    A.   No, ma'am.
      6    Q.   Okay. About how long -- can you estimate how long were
      7    you in that conference room?
      8    A.   Maybe an hour and-a-half.
      9    Q.   After the -- what happened after that interview ended;
    10     what did you do?
    11     A.   Well, the interview ended by us -- he stated he would
    12     take us out to where his weapons were stored, so we went back
    13     over to the lobby area, we were talking there. That's --
    14     Q.   Okay. And did you tell Mr. Ramadan to sit down in one
    15     of the chairs in front of the command center?
    16     A.   Yes, ma'am, uh-huh, outside of the command center.
    17     Q.   Outside of the command center. And Agent Thomas was in
    18     that waiting area outside of the command center?
    19     A.   We were all there.
    20     Q.   All of them, so Schmeltz, Kelley, Thomas?
    21     A.   Myself, Kelley and Agent Thomas, yes.
    22     Q.   And where was Officer Armentrout?
    23     A.   He was still inside the command center.
    24     Q.   And when you were in that waiting area, somebody asked
    25     Mr. Ramanda about pipe bombs?


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      1    A.   That's when the picture came out of the command center
      2    and shown to us, and we asked him about it, yes.
      3    Q.   And you asked him how to make a pipe bomb -- how he made
      4    the pipe bomb?
      5    A.   I asked him -- because he said it was a picture. I
      6    asked him how long it took him to make that pipe bomb. He
      7    told me one hour, but he recanted that.
      8    Q.   And at some point you told Mr. Ramadan to stand up?
      9    A.   At the end of the night when --
    10     Q.   And there was a point when you wanted to put handcuffs
    11     on him again?
    12     A.   Yes. He was getting very aggressive. I asked him to
    13     stand up.
    14     Q.   And you put your hands on him?
    15     A.   I put my right hand on his should, reached back for my
    16     handcuffs and realized I left them in the car.
    17     Q.   Okay. Did anybody hand you any handcuffs?
    18     A.   Nope. I escorted him into the other room and had him
    19     sit down.
    20     Q.   Did you grab him by the neck?
    21     A.   No, sure did not.
    22     Q.   Did you twist his ear?
    23     A.   Did not.
    24     Q.   Did you twist -- did you pull his hair?
    25     A.   I'm sorry.


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      1    Q.   Did you pull his hair?
      2    A.   No, ma'am.
      3    Q.   Did you punch him in the stomach?
      4    A.   No, ma'am.
      5    Q.   And your testimony was that he was not wearing
      6    handcuffs, you never put handcuffs on him?
      7    A.   I'm sorry. Repeat that.
      8    Q.   Your testimony is that you did not put handcuffs on --
      9    A.   I never put handcuffs on Mr. Ramadan.
    10     Q.   You have been in that secondary inspection area a number
    11     of times, right?
    12     A.   A few.
    13     Q.   So you are aware that there are cameras in the waiting
    14     room?
    15     A.   The waiting room.
    16     Q.   Like outside of the command center.
    17     A.   I don't know where the cameras are, ma'am, to be honest
    18     with you. I don't pay attention to that stuff.
    19     Q.   But you know there are cameras?
    20     A.   There are cameras.
    21     Q.   And when you are investigating a potential terrorist
    22     act, it would be important to -- if someone admits to a
    23     terrorist activity, it would be important to find that
    24     videotape, right?
    25     A.   Yeah, but no one admitted to anything, ma'am.


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      1    Mr. Ramadan was not under arrest; he was released that night.
      2    Q.   But, you know, when you are investigating terrorism
      3    there are times when you would want video of what happened in
      4    the interview rooms?
      5    A.   Under -- if there was somebody being arrested, yes.
      6    Q.   So you know how to make a request for that video?
      7    A.   I ask my chief to get it.
      8    Q.   And so if you decide that you want the video, you make a
      9    request to your chief?
    10     A.   I just ask somebody to get it. I've never done it.
    11     Q.   But if you wanted that video you knew how to get it?
    12     A.   I would ask for that video.
    13     Q.   Okay.
    14                MR. WATERSTREET: Your Honor, I object because the
    15     Court has already denied that -- this discovery request, and
    16     I don't know why we are going into it.
    17                MS. FITZHARRIS: Your Honor, we didn't think we had
    18     an opportunity to fully develop this record. This record is
    19     now as complete as we want it to be.
    20                THE COURT: Wonderful. Are you done?
    21                MS. FITZHARRIS: I am going to ask my colleague if
    22     there is anything else, and then I'm done.
    23                THE COURT: Okay.
    24                (An off-the-record discussion was held at
    25                2:25 p.m.)


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      1    BY MS. FITZHARRIS:
      2    Q.   Officer Brown, you said that you helped write a report
      3    after you interviewed Mr. Ramadan?
      4    A.   I co-authored.
      5    Q.   Okay. And you read it over?
      6    A.   I did.
      7    Q.   You checked it for accuracy?
      8    A.   I'm sorry.
      9    Q.   And you checked it for accuracy?
    10     A.   To the best of my ability, yes, ma'am.
    11     Q.   Right, because you wouldn't want to put in something
    12     there that is incorrect if you know it is incorrect?
    13     A.   Correct.
    14     Q.   And when you wrote that report it was closer in time to
    15     the interview of Mr. Ramadan than now?
    16     A.   I didn't write the report.
    17     Q.   When that report was written it was closer in time to
    18     the interview of Mr. Ramadan then now?
    19     A.   Oh, definitely.
    20                MR. WATERSTREET: What's the question?
    21                MS. FITZHARRIS: Just a minute.
    22     BY MS. FITZHARRIS:
    23     Q.   I just handed you a copy -- a document. Do you
    24     recognize that document?
    25                MR. WATERSTREET: What document did you show him?


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      1                MS. FITZHARRIS: It is Agent Thomas' report that he
      2    co-authored.
      3    A.   I didn't co-author these, ma'am. These are written by
      4    other officers. I do not co-author these. It says generated
      5    by me because I printed it.
      6    BY MS. FITZHARRIS:
      7    Q.   Okay. But did you read it?
      8    A.   I went over them, yes.
      9    Q.   Okay.
    10     A.   But it is not my job --
    11     Q.   And if you noticed --
    12     A.   -- to approve
    13                 THE COURT REPORTER: Hang on, hang on.
    14                 MR. WATERSTREET: Your Honor --
    15     A.   It is not my job to approve these.
    16     BY MS. FITZHARRIS:
    17     Q.   If you noticed --
    18                 MR. WATERSTREET: If I may interrupt, please. Your
    19     Honor, he asked if this was his report. He says it is not
    20     his report, and now she is going to ask him questions about a
    21     report that he was not an author of.
    22                 THE COURT: I don't know what she is going to ask
    23     him, so let me hear the question.
    24                 MR. WATERSTREET: Okay. Hopefully we will find out
    25     together.


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      1    BY MS. FITZHARRIS:
      2    Q.     You read over this report?
      3    A.     I didn't raid over them fully, ma'am, because I didn't
      4    generate these reports and I don't -- I do not approve these
      5    reports.
      6    Q.     Okay. But if you noticed something that was wrong in
      7    the report, would you say something?
      8               MR. WATERSTREET: Your Honor, now she is --
      9               THE COURT: Sustained. Yeah, he already said he
    10     just looked at it, didn't check it for accuracy. Is there
    11     another report that is his report that maybe you mean to give
    12     him?
    13                MR. DENSEMO: Is there?
    14                (An off-the-record discussion was held at
    15                2:28 p.m.)
    16     BY MS. FITZHARRIS:
    17     Q.     Are you aware that another agent said that Mr. Ramadan
    18     was placed in restraints again after he --
    19                MR. WATERSTREET: Your Honor --
    20     BY MS. FITZHARRIS:
    21     Q.     -- refused to provide the location of the storage unit?
    22                MR. WATERSTREET: Your Honor --
    23     A.     No, ma'am.
    24                MS. FITZHARRIS: Okay. Anything else?
    25                THE COURT: Cross --


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      1                MS. FITZHARRIS: No further questions.
      2                THE COURT: Cross-examination?
      3                MR. WATERSTREET: Thank you very much, Your Honor.
      4                               CROSS-EXAMINATION
      5    BY MR. WATERSTREET:
      6    Q.   Officer Brown --
      7    A.   Yes, sir.
      8    Q.   -- I want to ask you about the few times that you had
      9    contact with Mr. Ramadan. You said the first time you had
    10     contact with Mr. Ramadan is when Officer Schmeltz went back
    11     in to ask him a few questions.
    12     A.   Yes, sir.
    13     Q.   At that time was he handcuffed?
    14     A.   No, sir.
    15     Q.   Was he told that he was under arrest?
    16     A.   No, sir.
    17     Q.   Was he -- was he mistreated in any way by you or
    18     Officer Schmeltz?
    19     A.   No, sir.
    20     Q.   At any of that time did he request for an attorney?
    21     A.   No, sir.
    22     Q.   Did he request for any of the proceedings to be
    23     recorded?
    24     A.   No, sir.
    25     Q.   Now, the next time that you had any contact with him was


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      1    in this conference room interview?
      2    A.   Yes, sir.
      3    Q.   At that time was he handcuffed at any time?
      4    A.   No, sir.
      5    Q.   Did he ever -- was he ever told that he was under
      6    arrest?
      7    A.   No, sir.
      8    Q.   Did you ever see him mistreated in any way?
      9    A.   No.
    10     Q.   Punched, hit, kicked, pulled, hair pulled, ear twisted,
    11     anything like that?
    12     A.   No, sir, not at all.
    13     Q.   Okay. Did he ever ask for the interview to be
    14     recorded --
    15     A.   Not to my knowledge, no, sir.
    16     Q.   -- when you were there?
    17     A.   No, sir.
    18     Q.   Okay. Did he ever ask for an attorney?
    19     A.   No, sir.
    20     Q.   The next time that you had contact with him was out in
    21     the lobby area not long before he promised you that he would
    22     take you to where he had his firearms stored?
    23     A.   Yes, sir.
    24     Q.   And in that interview back in the conference room, did
    25     he tell you how many firearms that he had?


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      1    A.   Yes, sir. He had I think a pistol and two rifles.
      2    Q.   Okay. And did he say where they were stored?
      3    A.   Yes, sir. He said that he had them in a storage
      4    facility.
      5    Q.   Okay. And was he able to give you the address of that
      6    storage facility?
      7    A.   No, sir.
      8    Q.   Well, did you ask him, well, can you take us and show us
      9    where it is?
    10     A.   Yes, sir. He said he didn't know the address but he
    11     knew how to get there.
    12     Q.   And he was willing to take you there?
    13     A.   Yes, sir.
    14     Q.   And was it your plan then at the end of the night to go
    15     ahead and have him show you where he said he was storing his
    16     firearms?
    17     A.   Yes, sir.
    18     Q.   Now, prior to that did you have an opportunity to show
    19     him two different photos that Officer Armentrout had found in
    20     his media?
    21     A.   Yes, sir.
    22     Q.   I'm going to show you what has been marked as
    23     Government's Exhibit L-1. Have you seen L-1 before?
    24     A.   Yes, sir.
    25     Q.   What is L-1?


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      1    A.   L-1 is a broken glass or broken vase, glass, on a tile
      2    floor.
      3    Q.   Some broken glass on a tile floor?
      4    A.   On a tile floor, yes, sir.
      5    Q.   And this was an item that was taken off of Mr. Ramadan's
      6    media and provided to you by Officer Armentrout?
      7    A.   Yes, sir.
      8                MR. WATERSTREET: And move for the admission, Your
      9    Honor.
    10                 THE COURT: Any objection?
    11                 MS. FITZHARRIS: Objection. I don't understand the
    12     relevance of it.
    13                 THE COURT: Counsel, what's the relevance of the
    14     glass?
    15                 MR. WATERSTREET: Your Honor, this was part of the
    16     things that precipitated the defendant's outburst and his
    17     reaction to being questioned about things that he had in his
    18     possession that indicated that perhaps he was more involved
    19     than just a peaceful existence of the caliphate.
    20                 THE COURT: Overruled. You may -- it may be
    21     received.
    22                 MR. WATERSTREET: Thank you, Your Honor.
    23                 (Government's Exhibit L-1 received into evidence.)
    24     BY MR. WATERSTREET:
    25     Q.   And was this photograph first shown to Mr. Ramadan in


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      1    the -- in this little lobby area?
      2    A.     Yes, sir.
      3    Q.     And how was that done?
      4    A.     It was done by -- how was it shown to him?
      5    Q.     Yeah, how was it shown to him.
      6    A.     An officer took a picture.
      7    Q.     Took a picture?
      8    A.     Of the picture.
      9    Q.     Of the screen?
    10     A.     Of the screen, yes, sir.
    11     Q.     And then showed it to him?
    12     A.     Yes, sir.
    13     Q.     And what did Mr. Ramadan say about where that broken
    14     glass was?
    15     A.     He said there was a broken glass on his house in
    16     Bethlehem.
    17     Q.     Bethlehem?
    18     A.     Yes, yes.
    19     Q.     Now you also had another photograph, Government's
    20     Proposed Exhibit L-3. Do you recognize Government's Exhibit
    21     L-3?
    22     A.     I do, sir.
    23     Q.     And could you tell me what Government's Exhibit L-3 is?
    24     A.     This --
    25     Q.     Is that one of those other images that was taken off of


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      1    his media?
      2    A.   This was also taken off the -- a picture off of the
      3    screen shot, yes, sir.
      4    Q.   Okay. And this is -- this is a picture of the pipe
      5    bomb?
      6    A.   Yes, sir.
      7                MR. WATERSTREET: Okay. Move for the admission of
      8    L-3, Your Honor.
      9                MS. FITZHARRIS: Same objection; it is irrelevant.
    10                 THE COURT: It may be received.
    11                 (Government's Exhibit L-3 received into evidence.)
    12     BY MR. WATERSTREET:
    13     Q.   This is the pipe bomb that you -- now Mr. Ramadan has
    14     said the glass -- the broken glass on the floor is on a tile
    15     floor of his place in Bethlehem, correct?
    16     A.   Yes.
    17                 MS. FITZHARRIS: Objection; lack of personal
    18     knowledge.
    19                 MR. WATERSTREET: Well, that's what Mr. Ramadan
    20     said.
    21                 THE COURT: Overruled. Go ahead.
    22     BY MR. WATERSTREET:
    23     Q.   That's what Mr. Ramadan said, right?
    24     A.   Yes, yes, sir.
    25     Q.   Okay. And then you showed him a picture of a pipe bomb


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      1    that's on tile floor, the same terrazzo tile floor?
      2    A.   Yes.
      3                MS. FITZHARRIS: Objection to the characterization
      4    of it as the same floor.
      5                THE COURT: Sustained.
      6    BY MR. WATERSTREET:
      7    Q.   As you looked at those photographs, did you believe
      8    them to be from the same type of floor?
      9    A.   I did, sir.
    10     Q.   Okay. And then what did Mr. Ramadan say when you showed
    11     him this picture? What did he say about the object that
    12     appeared in L-3?
    13     A.   About the object, sir?
    14     Q.   Yes.
    15     A.   He said that was a grenade, sir, that he made.
    16     Q.   Okay. And did he admit that -- did he -- did you ask
    17     him how long it took him to make that bomb?
    18     A.   I did, sir.
    19     Q.   And what did he say?
    20     A.   He said one hour.
    21     Q.   Did he then try to backtrack after he acknowledged that
    22     he built this bomb in one hour?
    23     A.   He did, sir.
    24     Q.   And what did he said?
    25     A.   He said, well, if I had the components it would only


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      1    take me an hour.
      2    Q.     Which begs the question, he has to know what kind of
      3    components you need in order to build a bomb, correct?
      4    A.     Correct, sir.
      5    Q.     And did he say what kind of shrapnel they would -- he
      6    would use or they would use?
      7    A.     I asked him what type of shrapnel he used, and he said
      8    bullets, sir.
      9    Q.     Okay. And then did he vehemently deny that this bomb --
    10     this IED was made by him?
    11     A.     He did at that point, he backtracked again, sir.
    12     Q.     Okay. But when pressed on his knowledge about making
    13     bombs he acknowledged that he had made some in the past for
    14     educational -- he called it educational purposes, correct?
    15     A.     Yes, sir, also to throw at the troops overseas.
    16     Q.     Okay. And then after realizing that he made that
    17     mistake, you asked --
    18                MS. FITZHARRIS: Objection to the characterization.
    19                THE COURT: Sustained.
    20     BY MR. WATERSTREET:
    21     Q.     After he realized that you now had a pipe bomb -- that
    22     he acknowledged building pipe bombs, you then asked him
    23     about, well, why don't you now show us where your firearms
    24     are?
    25     A.     Correct, sir.


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      1    Q.   And what did he say to you when he said -- well, let me
      2    ask you this: What did you say to him to suggest, okay, well
      3    we are all ready to go?
      4    A.   Agent Thomas asked him if he had his keys.
      5    Q.   Okay.
      6    A.   And he stated keys for what? And he said for your
      7    storage locker because we are going to go and take a look at
      8    the guns. And he was like, no, I lied about that, sir.
      9    Q.   What did he say then? Did you ask him questions about
    10     that?
    11     A.   We did. We asked him, well, why would you lie about
    12     that? Then he stated that he's got the guns at his friend's
    13     house.
    14     Q.   Now, earlier in the -- in your discussion with
    15     Mr. Ramadan he admitted that he was a loner?
    16     A.   Yes, sir.
    17     Q.   He didn't trust anybody?
    18     A.   Correct, sir.
    19     Q.   Didn't even trust his own wife?
    20     A.   Yes, sir.
    21     Q.   So now he's telling you that he has entrusted his
    22     firearms to some person?
    23     A.   Yes, sir.
    24     Q.   Did he name that friend?
    25     A.   No, sir.


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      1    Q.   Did he name where that friend lived?
      2    A.   No, sir.
      3    Q.   Did he claim that the guns were all properly registered
      4    and purchased?
      5    A.   He did, sir.
      6    Q.   But now his story is there was some friend who he didn't
      7    give the name, didn't give the address?
      8    A.   Correct, sir.
      9    Q.   And as you started to press him on this new story --
    10                MS. FITZHARRIS: Objection, Your Honor. This is
    11     not a trial. None of these questions Mr. Waterstreet are
    12     asking about these firearms have anything to do with the
    13     suppression issues, about the search of the digital devices,
    14     or the voluntariness of Mr. Ramadan's statements.
    15                MR. WATERSTREET: I disagree vehemently, Your
    16     Honor. It has to do directly with his voluntariness to
    17     explain why the defendant became very irritated at the
    18     questioning of the agents and why they reacted the way they
    19     had to.
    20                THE COURT: Overruled.
    21     BY MR. WATERSTREET:
    22     Q.   So as you began to press him -- challenge him on his
    23     stories, the change in stories about the bomb and the guns
    24     and the friends and the not friends --
    25                MS. FITZHARRIS: Objection to the characterization


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      1    of all of this.
      2                THE COURT: Overruled.
      3                MR. WATERSTREET: May I proceed?
      4                THE COURT: You may.
      5    BY MR. WATERSTREET:
      6    Q.   So as you pressed him on the fact that he changed his
      7    story from I'll take you to the locker, now it is with a
      8    friend, I've got some guns but now my friend has them but I'm
      9    not going to tell you the name of my friend, I made a bomb
    10     but I didn't make a bomb but have made bombs, as you pressed
    11     him more and more on this, did he demeanor change at all?
    12     A.   Yes, sir.
    13     Q.   And did you have to react as a result of Mr. Ramadan's
    14     demeanor?
    15     A.   He got aggressive, sir.
    16     Q.   And what did you end up having to do?
    17     A.   I was going to put him in handcuffs, sir, but when I
    18     reached back embarrassingly I didn't have my handcuffs with
    19     me, sir.
    20     Q.   And was he questioned any more after that event by you
    21     or any of the other agents in your presence?
    22     A.   When I put him in the other room to sit down --
    23     Q.   Yes.
    24     A.   -- to cool off a little bit, to leave him alone?
    25     Q.   Yes.


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      1    A.   I have no clue if anybody else talked to him.
      2    Q.   You did not?
      3    A.   No, sir, we did not.
      4               MR. WATERSTREET: Your Honor, did I admit L-1 and
      5    3?
      6               THE COURT: Yes.
      7               MR. WATERSTREET: If I may have a moment, Your
      8    Honor?
      9               (An off-the-record discussion was held at
    10                2:40 p.m.)
    11                MR. WATERSTREET: I have no further questions at
    12     this time. Thank you, Your Honor.
    13                THE COURT: Anything else?
    14                              REDIRECT EXAMINATION
    15     BY MS. FITZHARRIS:
    16     Q.   So you just said that Mr. Ramadan backtracked on some
    17     things, does that suggest that he was being cooperative?
    18     A.   I'm sorry, ma'am.
    19     Q.   You just said that Mr. Ramadan backtracked on some
    20     things, does that suggest to you that he was being
    21     cooperative?
    22     A.   I don't know what -- explain cooperative at that point,
    23     ma'am?
    24     Q.   In your opinion, was Mr. Ramadan cooperative with you
    25     when you started asking him about the pipe bomb?


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      1    A.   He wasn't belligerent at that point, no.
      2    Q.   But was he cooperative?
      3    A.   He would tell us an answer and then retract.
      4    Q.   Okay. When you said we want to go to the storage unit,
      5    was he cooperative at that point?
      6    A.   When we want to go to the storage unit?
      7    Q.   Yes.
      8    A.   When we asked him if he had the keys?
      9    Q.   Yes.
    10     A.   He became not cooperative at that point.
    11     Q.   You just said that Mr. Ramadan said that he made IEDs to
    12     throw at Israelis?
    13     A.   If I said Israelis -- it was troops is what he said,
    14     troops.
    15     Q.   Your testimony today is that Mr. Ramadan told you that
    16     he threw IEDs at troops?
    17     A.   At troops, yes.
    18     Q.   That's a pretty important detail.
    19     A.   Yes, it is.
    20     Q.   I'm handing you a document, this is this one --
    21                 MR. WATERSTREET: What? Can you like label this?
    22                 MS. FITZHARRIS: I'm not admitting it as an
    23     exhibit.
    24                 MR. WATERSTREET: Okay. Can I see it then?
    25                 MS. FITZHARRIS: Page 4.


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      1               MR. MARTIN: What is the proposed exhibit number?
      2               MS. FITZHARRIS: Proposed exhibit --
      3               MR. WATERSTREET: Right.
      4               MS. FITZHARRIS: This is, I guess, Proposed
      5    Exhibit D.
      6               MR. WATERSTREET: Your Honor, I believe it is the
      7    302 that was authored by Agent Thomas. Am I correct,
      8    Counsel?
      9               MS. FITZHARRIS: Yes.
    10                THE COURT: It is exhibit what?
    11                MS. FITZHARRIS: It is Proposed Exhibit D. I do
    12     not plan to admit it as evidence.
    13     BY MS. FITZHARRIS:
    14     Q.   Do you recognize that document?
    15     A.   I do.
    16     Q.   What is it?
    17     A.   It is a report that an agent writes.
    18     Q.   And who wrote that report?
    19     A.   Special Agent Mike Thomas.
    20     Q.   And you helped him write that report?
    21     A.   I co-authored that report means I looked over it after
    22     he was done.
    23     Q.   Okay. And so if there were important details missing
    24     you would have told him to add them?
    25     A.   We would have talked about it, yes, ma'am.


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      1    Q.   Okay. Could you take a look at -- take a look through
      2    it and show me where Mr. Ramadan admitted to throwing IEDs at
      3    troops?
      4    A.   I'm a slow reader.
      5    Q.   Take your time.
      6    A.   Okay. Right here where it says loud bang to detonate,
      7    and these items were sometimes used to throw at soldiers
      8    overseas.
      9    Q.   But you did not write that Mr. Ramadan said that he used
    10     them to throw at soldiers overseas?
    11     A.   Okay.     You are right, it doesn't say Mr. Ramadan said I
    12     threw them, but he said that -- when he talked about the
    13     explosives he said, yeah, it was just for a loud bang,
    14     firework effects, and used to throw at soldiers overseas.
    15     Q.   So generally some people throw IEDs at soldiers?
    16     A.   Sure.
    17                 MR. WATERSTREET: Your Honor, argumentative.
    18     A.   Sure.
    19                 THE COURT: Sustained.
    20     BY MS. FITZHARRIS:
    21     Q.   Was Officer Schmeltz in uniform that night?
    22     A.   I believe we said no at that.
    23     Q.   Okay. And Armentrout, was he in uniform?
    24     A.   I don't recall but probably not.
    25     Q.   Okay.


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      1                MR. DENSEMO: One last question, Judge.
      2                (An off-the-record discussion was held at
      3                2:45 p.m.)
      4    BY MS. FITZHARRIS:
      5    Q.   When Mr. Waterstreet was asking you questions you
      6    said --
      7    A.   I'm sorry. Say that again, please.
      8    Q.   When Mr. Waterstreet was asking you questions --
      9    A.   Yes.
    10     Q.   -- you said that Mr. Ramadan said that he put bullets in
    11     the IED?
    12     A.   Yes.
    13     Q.   Can you look at page 4 again and tell me where it says
    14     that Mr. Ramadan admitted to putting bullets in an ied --
    15     that IED?
    16     A.   In this report?
    17     Q.   Yes.
    18     A.   Okay. Okay. In this report it says they.
    19     Q.   Okay. So did he not say that he put bullets in an
    20     IED -- in that IED pictured, Mr. Ramadan did not say that?
    21     A.   When I asked him what did you use for shrapnel,
    22     Mr. Ramadan said I used bullets.
    23     Q.   But in the report it says they?
    24     A.   Then he retracted, no, that's what they use because he
    25     gave me an answer and then he retracted that answer.


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      1    Q.   Okay. But that report does not include any statement
      2    that Mr. Ramadan said I used bullets?
      3    A.   It does not.
      4               MS. FITZHARRIS: Okay. No further questions.
      5               THE COURT: Okay.
      6               MS. FITZHARRIS: Oh, Your Honor, because we have
      7    not been provided the e-mails that Officer Brown wrote about
      8    this, we reserve the right to recall him once we have
      9    obtained those e-mails.
    10                THE COURT: If they are of any import you may
    11     recall him.
    12                MS. FITZHARRIS: Yes.
    13                THE COURT: But they have to mean something. All
    14     right. You may step down, sir.
    15     A.   Thank you, ma'am.
    16                (Witness excused at 2:47 p.m.)
    17                THE COURT: Your next witness?
    18                MS. FITZHARRIS: Your Honor, we call
    19     Yousef Ramadan.
    20                THE COURT: Mr. Ramadan, please come forward.
    21                THE COURT REPORTER: Would you please raise your
    22     right hand.
    23                Do you solemnly swear or affirm that the testimony
    24     you are about to give this Court will be the truth, the whole
    25     truth, and nothing but the truth, so help you God?


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      1               MR. RAMADAN: (In English) I do.
      2               MS. FITZHARRIS: Your Honor, before we begin, I
      3    just want to, I guess, make a motion in limine and make clear
      4    that Mr. Ramadan is testifying for the limited purpose of
      5    these motions to suppress the evidence found on his hard
      6    drives, digital devices and his statements. It is not an
      7    open free-range opportunity for the government to ask
      8    Mr. Ramadan whether he possessed the firearms he's charged
      9    with possessing or any other criminal activity. It is a
    10     limited hearing, and under Supreme Court case law he does not
    11     have to forfeit his Fifth Amendment right to not incriminate
    12     himself when he is asserting another right.
    13                THE COURT: Tell me what you are limiting it to
    14     again?
    15                MS. FITZHARRIS: The suppression issues, the
    16     voluntariness of his statements and the search of his digital
    17     devices.
    18                THE COURT: Okay.
    19                MR. WATERSTREET: Your Honor, two issues, if I
    20     might? About the Court instructing the defendant he does not
    21     have to take the stand and testify in these proceedings, that
    22     it is his choice, he has a Fifth Amendment privilege, and
    23     he's giving up that right by testifying at this hearing.
    24                And as to the second issue, Your Honor, one of the
    25     things the defendant must establish is standing to contest


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      1    the suppression of the items they seek to suppress in their
      2    motion, so there will be some questions that can be asked of
      3    him, but as counsel pointed out he does not have to give up
      4    one right for the other. So these questions -- answers to
      5    these questions cannot be used directly against him at up
      6    coming trial, I understand that completely. So I'm not sure
      7    as to what the motion in limine is trying to do other than
      8    perhaps hamstrung the United States from being able to ask
      9    probing questions about the defendant's standing and other
    10     related issues.
    11                MS. FITZHARRIS: I think it is appropriate to ask
    12     questions about his standing to assert privacy protections in
    13     the storage units. I do not think it is appropriate to ask
    14     Mr. Ramadan if he possessed the firearms charged in the
    15     indictment.
    16                THE COURT: Well, then why would he be taking the
    17     stand?
    18                MS. FITZHARRIS: The search, the protected area
    19     protected by the Fourth Amendment is --
    20                THE COURT: No. The issue -- the issue raised is
    21     one of standing. What right does he have to --
    22                MS. FITZHARRIS: If he has a right to privacy in
    23     the storage unit then he can assert a right to suppress the
    24     evidence seized in that and have it used against him at
    25     trial.


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      1               THE COURT: Okay. That's good. Yeah. Go ahead.
      2               Now, Mr. Ramadan, you understand you don't have to
      3    testify --
      4               MR. RAMADAN: (In English) Yes.
      5               THE COURT: -- at all, that you are giving up your
      6    Fifth Amendment rights if you do testify to some of these
      7    things?
      8               MR. RAMADAN: (In English) Yes.
      9               THE INTERPRETER: Yes.
    10                THE COURT: All right.
    11                                  YOUSEF RAMADAN,
    12     called at about 2:38 p.m., was examined and testified on his
    13     oath as follows:
    14                                DIRECT EXAMINATION
    15     BY MS. FITZHARRIS:
    16     Q.   Good afternoon, Mr. Ramadan.
    17                MR. RAMADAN: (In English) Hi.
    18                THE COURT: Wait a minute. One other question I
    19     want to ask.
    20                MS. FITZHARRIS: Sure.
    21                THE COURT: Did you discuss this with your lawyers
    22     about testifying?
    23                MR. RAMADAN: (In English) Yes.
    24                THE COURT: Okay.
    25


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      1    BY MS. FITZHARRIS:
      2    Q.   What is your full name?
      3    A.   Yousef Ramadan.
      4    Q.   How old are you?
      5    A.   29.
      6    Q.   Where were you born?
      7    A.   Bethlehem, Palestine.
      8    Q.   What is your citizenship?
      9    A.   I have dual citizenship, American and Palestine.
    10     Q.   Do you remember where you were August 15th, 2017?
    11     A.   At the airport.
    12     Q.   Why were you at the airport?
    13     A.   Did you say when, why?
    14     Q.   Why?
    15     A.   I was traveling to Palestine through Jordan.
    16     Q.   What time did you arrive at the airport?
    17     A.   Around 3:00.
    18     Q.   Were you traveling with anyone?
    19     A.   Yes. With my wife and four -- my four kids.
    20     Q.   What is your wife's name?
    21     A.   Jeanine Ramadan.
    22     Q.   What are your children's name?
    23     A.   Mohammad, Nadine, Amjad, and Ipsisan (phonetic).
    24     Q.   How old are your children?
    25     A.   From seven to nine now, from seven to nine.


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      1    Q.   When you arrived at the airport approximately how many
      2    bags did you have with you?
      3    A.   15 big -- 15 big one, it was like dark color, black
      4    color, and six little one, and backpack, six.
      5                MR. WATERSTREET: I'm sorry, I missed it. There
      6    were 15 bags and how many -- I missed it. I'm sorry.
      7    A.   And six carry-on.
      8    BY MS. FITZHARRIS:
      9    Q.   What did you do with the 15 big bags?
    10     A.   After we bought the tickets and we did solve that issue,
    11     I gave them to the airline people.
    12     Q.   And so you checked those bags?
    13     A.   Yes.
    14     Q.   And what did you do -- after you checked your bags what
    15     did you do next?
    16     A.   After that I got the carry-on, six, and six backpacks,
    17     and we went to the security checks after we said goodbye to
    18     the family.
    19     Q.   And when you went through security check, did you put
    20     your checked bags through X-rays?
    21     A.   Yeah.
    22     Q.   What time did you arrive at the gate for your flight?
    23     A.   Between 7:45 to 8:00.
    24     Q.   What time was your flight scheduled to leave?
    25     A.   I think around 8:00, but they did delay the flight


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      1    because there were like some passengers that were delayed.
      2    Q.   What time did you board the flight?
      3    A.   Between 8:00 and 8:15.
      4    Q.   When you boarded the flight, do you remember talking to
      5    any federal officers?
      6    A.   Before we entered the plane there were like small room,
      7    two agents talked to me.
      8    Q.   What did those agents look like?
      9    A.   One of them he was here, he gave his testimony. The
    10     other one is skinny, around six feet. He was supposed to
    11     come here to give his testimony but he did not.
    12     Q.   Okay. Did --
    13     A.   Officer Haeck his name, I believe.
    14     Q.   Did either of those officers ask you any questions?
    15     A.   Yes.
    16     Q.   What questions did they ask you?
    17     A.   How much money I have on me, and where am I going.
    18     Q.   What did you answer?
    19     A.   I -- I asked him if it's only me or me and my wife. I
    20     told him around 10,000, and we have gold. I told him that I
    21     have around seven, and she has around three.
    22                 MR. WATERSTREET: I'm sorry. He has how much?
    23                 THE INTERPRETER: Seven, I have around seven, and
    24     she has around three.
    25


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      1    BY MS. FITZHARRIS:
      2    Q.   Thousand?
      3    A.   Yes.
      4    Q.   Where did you have the $7,000?
      5    A.   My wife had it in her bra, and I had it in my backpack
      6    with the gold.
      7    Q.   And where was the gold necklace that you mentioned?
      8    A.   With me in my backpack. All the gold were together.
      9    Q.   Officers spoke with Mr. -- with Officer Robinson, what
    10     did you do next?
    11     A.   So he told me you are good to go. We entered the plane,
    12     we sat down. I put -- organized, like put the backpacks on,
    13     and we put the kids in their seats.
    14     Q.   Approximately what time was it by the time that everyone
    15     was in their seats on the plane?
    16     A.   Between 8:00 and 8:30.
    17     Q.   Once you were seated, what happened next?
    18     A.   After like 20 minutes two officers came inside the
    19     plane, and he was asking the flight attendant where am I
    20     sitting. She pointed to me. He asked me if I am
    21     Yousef Ramadan. I said yes.
    22     Q.   Who were the officers that came on the plane?
    23     A.   I think Robinson and Haeck.
    24     Q.   After they said are you Yousef Ramadan, and you said
    25     yes, what happened after that?


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      1    A.   He told me come with me, I need to talk with you for a
      2    little bit. He told me that he wanted to talk to me
      3    regarding something that I have in my luggage. I said go
      4    ahead, and he told me that you have a bulletproof plate --
      5    plate.
      6    Q.   When he asked you about -- when he told you that there
      7    were some bulletproof plates in your luggage where were you?
      8    A.   Inside the plane next to the kitchen. In front of
      9    everybody he was asking me. I was shy.
    10     Q.   At that -- when he came on the plane and asked to speak
    11     with you, how did you feel?
    12     A.   When he asked me about the bulletproof plate, I was like
    13     embarrassed and I was like worried about the kids, and I was
    14     like also worried about how like the people are thinking
    15     about me.
    16     Q.   What did you say to officer -- when you were asked about
    17     the plates?
    18     A.   I did tell him yes, I do have it. Like I did say, yes,
    19     I do have it. And he told me if I have a receipt. I told
    20     him, yes, I do have a receipt, I bought them on the internet.
    21     And he said, no, no, I'm not asking about the receipt, I'm
    22     asking if you have like papers or document or permission that
    23     you can take it with you. I told him I didn't know that I'm
    24     supposed to have a permission, and I do not have a
    25     permission.


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      1    Q.   After you told him that you didn't know that you had to
      2    get permission, what happened next?
      3    A.   He -- he -- he told me to follow him. I didn't want to
      4    follow him but, like, I felt like I have to.
      5    Q.   Why did you feel like you had to follow him?
      6    A.   Because I was planning to go to my country, and not
      7    leave the kids alone, and to see my dad, who is sick, my mom
      8    and my family. So I just wanted to go and follow him because
      9    I thought -- so I felt like I had to follow him just because
    10     I figured, like, it is a matter of just doing a paper and
    11     come back. I didn't want it to tell the story like, you
    12     know, bigger than what it is.
    13     Q.   Did you -- at that point did you just follow the
    14     officers somewhere?
    15     A.   Until then so far, yes, on my own.
    16     Q.   At some point did your family come with you?
    17     A.   Right. After we came out of the plane, and they did
    18     escort me outside the plane, before we entered the secondary
    19     area I remembered that I have the kids 'medications and the
    20     passport, and I had like the paperwork for me to cross to the
    21     other country. So I did tell the CBP officer that I have to
    22     give the medication, like the stuff to my kids. And in his
    23     testimony he said that he's the one who asked me about the
    24     medication, but as a matter of fact I'm the one who asked
    25     about the medication.


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      1    Q.   So once you remembered about the medications, what did
      2    you do next?
      3    A.   He took me back to the plane.
      4    Q.   Who took you back to the plane?
      5    A.   Haeck and Robinson.
      6    Q.   What happened when you were back on the plane?
      7    A.   Officer Haeck took me inside the plane, and
      8    Officer Robinson was behind him.
      9    Q.   Once you got back to where your family was seated, what
    10     did you do?
    11     A.   So just like how I said, I gave it -- I gave her the
    12     medications, and the papers, and the money, and the papers
    13     that would allow you to answer the second country. And while
    14     I was giving her the stuff, he saw like one of the backpacks'
    15     pockets open and he asked me what's that, because I was
    16     giving her the money and the stuff. He told me what's that,
    17     and he took the hard drive.
    18     Q.   After Officer Haeck took the hard drive, what did he do?
    19     A.   And he told me the whole family has to come out and
    20     follow him.
    21     Q.   And so did your whole family pick up and grab their
    22     bags?
    23     A.   Yes, that's right. So our plan was not like that. They
    24     were like kind of forced to do that indirectly. Okay. So --
    25     so if we don't do what they ask us to do they will bring the


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      1    police, so I was, like, kind of embarrassed, and I had a red
      2    face, and I was liked concerned about the family.
      3               MR. WATERSTREET: Your Honor, I'm not sure I
      4    understood what he said. He said the police told him that if
      5    they don't do what he says or --
      6               MS. FITZHARRIS: Your Honor, Mr. Waterstreet can
      7    clarify.
      8               MR. WATERSTREET: Your Honor, I'm having a hard
      9    time understanding the interpreter because the microphone --
    10     she is talking to you and her voice isn't projecting this
    11     way.
    12                THE INTERPRETER: I thought it was working. You
    13     cannot hear me?
    14                MR. WATERSTREET: No. I'm having a hard time
    15     hearing you.
    16                THE COURT: Why don't you ask the question again.
    17     BY MS. FITZHARRIS:
    18     Q.     After Officer Haeck grabs the hard drive, what did you
    19     do next?
    20     A.     He told us that the whole family has to follow him. We
    21     didn't want to leave the plane. We were, like, forced to
    22     leave the plane indirectly. It wasn't like voluntarily, we
    23     were, like, forced.
    24     Q.     What did Officer Haeck or Officer Robinson say to you to
    25     make you believe that you had to leave the plane?


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      1    A.   If I -- if I had the choice I could of, like, you know,
      2    left them there and I went by myself with them, but the kids
      3    they were, like, also scared. That's why they didn't give us
      4    the choice, and it wasn't voluntarily for us to go with them.
      5    If they gave us the choice I could of, like, went with them
      6    alone.
      7    Q.   What was Officer Haeck wearing?
      8    A.   A black --
      9               THE INTERPRETER: I'm sorry. It is interpreter's
    10     fault.
    11     A.   It is a dark blue suit.
    12     BY MS. FITZHARRIS:
    13     Q.   Did you notice whether he had any weapons?
    14     A.   He had the duty belt, he had a gun, handcuffs, extra
    15     storage --
    16                MR. RAMADAN: (In English) No, extra magazines.
    17     A.   Extra magazines, and a baton, baton
    18     BY MS. FITZHARRIS:
    19     Q.   What was Officer Robinson wearing?
    20     A.   I think the same thing.
    21     Q.   After you gathered all of your family's luggage, where
    22     did you go?
    23     A.   After they forced us to leave the plane, we went to the
    24     secondary area. After we open the door, we went to an area
    25     -- like isolated area away from people.


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      1    Q.   At any time did you ask to record what was going on?
      2    A.   After like 20 feet I ask the officer that I wanted to be
      3    a recorder, and the camera recording that --
      4               MR. RAMADAN: (In English) No. The camera is
      5    already recording when I asked him that.
      6    A.   So the camera was already recording when I asked him
      7    that. Officer Robinson said no. He said, no, we couldn't
      8    because we cannot show, like, the federal offices and their
      9    face. So I did -- I did listen to him and turned off the
    10     camera.
    11     Q.   Why did you want to record what was happening?
    12     A.   Because, first, they took us unvoluntarily from the
    13     plane. I was, like, very scared about, you know, our lives
    14     and my kids, and I had bad experience with the police, so for
    15     my safe and for the police officers' safe.
    16     Q.   How did your children appear when they were taken off of
    17     the plane?
    18     A.   They were really scared, and my youngest daughter she
    19     was crying, and my wife was crying, and I was, like, very
    20     scared too. So we thought, like, you know, we were going to
    21     be -- like, we thought that the -- we were going to miss the
    22     plane and we were going to buy new tickets.
    23     Q.   How did it make you feel to see your child and your wife
    24     crying?
    25     A.   I was shocked a lot, and I was very scared because I


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      1    don't want them to have, like, emotional problem because of
      2    that and psychological problems because they are young and
      3    this will stay in their brain.
      4    Q.   After you left the plane, where did you go?
      5    A.   After we went, like, a -- like, a dark tunnel, we start
      6    at a door, so he did put his -- swiped his ID. So we went to
      7    an area where there were chairs. So -- so once we entered
      8    there were, like, chairs, and then he took from me the
      9    backpack that has the gold, the money, five hard drives and
    10     cameras. Okay. So he gave it -- and the hard drive that he
    11     took from me before, he gave it to another room that has
    12     tinted window.
    13     Q.   And in this room were there any other people beside --
    14     members of the public who are not your family?
    15     A.   So we were in an area isolated. It was just us where we
    16     don't see, like, anybody outside doors or the whole area. It
    17     is meant to have interviews -- interrogations with people.
    18     Q.   Once you were in this kind of secondary inspecting area,
    19     where did you go?
    20     A.   So after like around 15 minutes I heard them start
    21     turning on those videos, watching it, and laughing at me and
    22     making fun of my accent.
    23     Q.   Where were you seated when you heard this?
    24     A.   Where those chairs are in that interrogation area.
    25     Q.   Okay. Is that right in front of the command center?


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      1    A.   Yes.
      2    Q.   How long were you sitting there hearing officers go over
      3    your videos?
      4    A.   Can I see the paper that has the command center?
      5                MS. FITZHARRIS: Your Honor, I'm going to ask
      6    Mr. Ramadan if maybe he could draw the room, with your
      7    permission?
      8                THE COURT: Okay.
      9    BY MS. FITZHARRIS:
    10     Q.   Mr. Ramadan, would you please draw to the best of your
    11     memory the secondary inspection area.
    12                 THE COURT: Isn't one of the exhibits --
    13     Government's exhibit exactly the room?
    14                 MS. FITZHARRIS: It is.
    15     BY MS. FITZHARRIS:
    16     Q.   All right. I'm sorry, Mr. Ramadan. Oh, great. So on
    17     the area -- on the picture that you have just drawn, can you
    18     mark the area where your family was seated -- the waiting
    19     area with the letters WA?
    20     A.   My kids, my kids were here (indicating).
    21     Q.   Okay. And that's in the waiting area?
    22     A.   It is like flipped, it is supposed to be like that.
    23     Q.   So when you were sitting in the waiting area, you could
    24     hear what was going on in the command center?
    25     A.   We were here, like, around ten feet.


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      1    Q.     How long were you in the waiting area?
      2    A.     Around 20 minutes.
      3    Q.     So after 20 minutes what happened next?
      4    A.     After that an agent came, I think his name was Armstrong
      5    Q.     Armentrout?
      6    A.     Armentrout, yes. He pointed to me, and he said came
      7    over here.
      8    Q.     When he told you -- and where did he direct you to go?
      9                MR. RAMADAN: (In English) I would say that
    10     interrogation room number -- the one on the right from my
    11     view
    12     BY MS. FITZHARRIS:
    13     Q.     On Government's Exhibit X can you mark that room with
    14     the letter I and the number 1.
    15     A.     (Witness complies.)
    16     Q.     When he told you to go to the -- into the interrogation
    17     room, did you feel that you had to go?
    18     A.     To start with, I just didn't want to go but I figured,
    19     you know, it is a matter of -- because I don't want, like, my
    20     family to stay for a longer period of time because my
    21     daughter was crying and she did pee on herself, and they were
    22     all scared, so I figured let me go and talk to them.
    23     Q.     When you went into the room, who else was in the room
    24     with you?
    25     A.     Officer Smith.


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      1    Q.     Officer Schmeltz?
      2    A.     Schmeltz.
      3    Q.     Any other officers?
      4    A.     They were like another one, there is a small office. He
      5    was right here.
      6               MR. RAMADAN: (In English) It is not an office.
      7    A.     Desk, and he had like a higher rank. He was like
      8    watching the kids -- supervise the kids.
      9    BY MS. FITZHARRIS:
    10     Q.     When you were seated, where was the door in relation to
    11     you?
    12     A.     The door was here. I was sitting next to the door --
    13     next to the window exactly.
    14     Q.     And could you mark -- could you write on that room the
    15     letter R where you were -- approximately where you were
    16     sitting?
    17     A.     (Witness complies.)
    18     Q.     Could you mark on there with a letter S where
    19     Officer Schmeltz was sitting?
    20     A.     (Witness complies.)
    21     Q.     And were you the only two people in the room at that
    22     point?
    23     A.     Armentrout.
    24     Q.     Could you mark on the diagram where Armen --
    25     Officer Armentrout was sitting with a letter A?


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      1    A.   (Witness complies.)
      2    Q.   During that time was the door open?
      3    A.   They closed it.
      4    Q.   You said that your back was to the window. Could you
      5    see your children?
      6    A.   So every, like, you know, half a minute or so I would,
      7    like, turn over and look at them and make sure that they are
      8    safe, and just too comfort them, to tell them, like, in a way
      9    like don't worry about me, I'm okay to.
    10                After that, Officer -- Officer Armentrout.
    11     Q.   Armentrout?
    12     A.   Armentrout, he told me stop looking over my shoulder.
    13     He told me to move from that seat to behind -- like, right
    14     behind the door. He asked me to move my chair to behind the
    15     door.
    16     Q.   So when you first went into this interrogation with
    17     Officers Armentrout and Schmeltz, what questions did they
    18     start -- what were the first questions -- was the first
    19     question they asked you?
    20     A.   What's your name? Where are you going? How much money
    21     do you have? And I was, like, answering the question how
    22     much money I have, gold.
    23     Q.   And when they asked you where were you going, what did
    24     you tell them?
    25     A.   I told them that I was going to Palestine through


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      1    Jordan, and then he start asking other questions.
      2    Q.   What other questions did he ask you?
      3    A.   How many luggages do I have? Where are you going? Who
      4    are you going to stay with there? How many brother do I
      5    have? So if I'm, like, if I own the house or if I'm going to
      6    rent? How many years I'm going to stay there? What am I
      7    going to work there?
      8    Q.   When they were asking you these sorts of questions, did
      9    you -- how did you feel?
    10     A.   So it was, like, you know, regular questions, and also
    11     they ask about the bulletproof plate.
    12     Q.   At any point in this conversation did the subject of the
    13     questions change?
    14     A.   Yes.
    15     Q.   What subject did they start asking you about?
    16     A.   After that he asked me if I'm going to go to Syria or
    17     Iraq.
    18     Q.   When they asked you if you were going to Syria or Iraq,
    19     how did that make you feel?
    20     A.   After he asked that question, it did -- like, I did pay
    21     attention at why is he asking, like, that, about the exports
    22     and imports --
    23                 MR. RAMADAN: (In English) No.
    24     A.   So when he asked that question I did pay attention why
    25     is he asking that question, because after that question he


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      1    asked me if I have any relation with any terrorism. I was
      2    like very scared. So the questions were changed from, like,
      3    regular interrogations to, like, terrorism interrogations.
      4    BY MS. FITZHARRIS:
      5    Q.   When the officers started asking you about terrorism
      6    questions did you do anything?
      7    A.   Yes.     So I told him, like, what person who has a brain
      8    would take his family and kids from a safe area to an area,
      9    like, where it has war and there were, like, bombing all the
    10     time, and it is unsafe.
    11     Q.   When they started asking you about terrorism, did you
    12     ask for a lawyer?
    13     A.   So after he asked this question, and I paid attention,
    14     so I did tell him right away that I want a lawyer and I want
    15     an interpreter because I don't want, like -- the way to
    16     express myself I don't want it to be changed because I have
    17     problem with English speaking.
    18     Q.   When you asked for -- was there anything in particular
    19     that the officer said to you that made you ask for a lawyer?
    20                 THE INTERPRETER: To ask for what?
    21                 MS. FITZHARRIS: A lawyer.
    22     A.   Yes, yes. He asked me if I belonged to any terrorism
    23     party or if I'm going to go and join ISIS.
    24     BY MS. FITZHARRIS:
    25     Q.   When you asked for a lawyer what was the response?


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      1    A.   So he told me that this is international area, like, we
      2    cannot have a lawyer here. Even though if a lawyer is going
      3    to come here so we have to have, like, a prior pass. So even
      4    if you -- you have no rights, and even if you are going to
      5    have a prior pass for a lawyer they are not going to give it
      6    to you. You have to speak.
      7    Q.   After they --
      8    A.   It's better for you.
      9    Q.   So just to clarify, they said it's better for you to
    10     speak?
    11     A.   Yes.
    12     Q.   Did you understand that to be a suggestion?
    13     A.   To start with, I didn't want to say something because
    14     those questions are terrorism related, so after he starts
    15     asking me questions I felt like I have to answer his
    16     questions because he didn't give me the choice.
    17     Q.   What specific questions about terrorism did
    18     Officer Schmeltz ask you?
    19     A.   Because, like, he knew that I was, like, going to -- he
    20     thought that I was going to join ISIS in Syria.
    21     Q.   What questions did he ask you?
    22     A.   If I'm going to join them, or if I'm going to do any
    23     terrorism act.
    24     Q.   Did he ask you -- did Officer Armentrout ask you any
    25     questions about terrorism?


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      1    A.   After they forced me to answer -- to speak, they start
      2    asking me different questions. So they told me, like, why am
      3    I going to go and join ISIS in Syria? So I told him why am I
      4    going to go to Syria and join ISIS there? If I was going to
      5    join them I could have, like, stayed there. Why am I going
      6    to take my family there. Or like take my family, put them in
      7    danger, and take them where the war is.
      8               So if, like, in that point of view it's better to
      9    do a terrorism act here in America, and it will show like --
    10     it will be all over the news, and it will be, like, you know,
    11     embarrassing for the American government.
    12     Q.   And when you were saying this, you weren't saying that
    13     you wanted to do this?
    14                MR. WATERSTREET: Objection, Your Honor; leading.
    15     A.   I said if I was.
    16     BY MS. FITZHARRIS:
    17     Q.   Okay. At any point did either Officer Schmeltz or
    18     Officer Armentrout ask -- say anything about Guantanamo?
    19     What did they say? Who said it first?
    20     A.   Armen --
    21     Q.   Armentrout?
    22     A.   Armentrout.
    23     Q.   And what did he say?
    24     A.   So I told him I do not want to talk to you, not before
    25     you bring me a lawyer because after -- after he asked me


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      1    those questions about terrorism and if I'm going to join --
      2    join them or do, like, any terrorism act. If I stay quiet he
      3    will send me to Guantanamo and I will not be cooperative. He
      4    told me I have to talk for your own good, for your own good.
      5               So when I heard the word Guantanamo I was, like --
      6    felt, like, my head is leaving my body, and I was like so
      7    scared, and I know how -- how torture -- how they torture
      8    people there, and being away from my family and being away
      9    from the whole world. And they torture people with dogs and
    10     electric wires.
    11                In the future they will take the American citizen
    12     from me and go back to my country.
    13     Q.   At any --
    14     A.   And the period of staying in jail is a long period of
    15     time.
    16     Q.   At any point in that first interrogation room were you
    17     asked questions about Islam?
    18     A.   He asked me if I'm Muslim. I said, of course, my name
    19     says it, it will speak for itself, my name is Muslim. And he
    20     asked me about the caliphate. I told him as a Muslim I like
    21     to have the caliphate -- Islamic caliphate, not with -- not
    22     like the ISIS caliphate. So he told me how the caliphate is
    23     going to be at your country. Okay. So I told him that I
    24     like the caliphate to be not like the one that ISIS has, I
    25     like it based on helping people. So he told me how are you


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      1    going to have the caliphate and you have it based, like, on a
      2    killing? I told him I like it peaceful, and helping people,
      3    and by numbers -- like -- and also like with numbers, the
      4    people it becomes like caliphate -- Muslim -- Islamic
      5    caliphate.
      6    Q.   And, Mr. Ramadan, who was asking you about the
      7    caliphate?
      8    A.   I think it was Armstrong.
      9    Q.   Armentrout?
    10     A.   Armentrout.
    11     Q.   When you were in that first interrogation room with
    12     Officer Schmeltz and Robinson, at any point were you asked
    13     about your views about Jews?
    14     A.   Yes. He told me if I like Jews or not. I said yes, I
    15     like Jews. So I don't like Zions (phonetic) and before that
    16     question he asked me -- he told me if I was in your place I
    17     would not like Jews, and if I had the choice I would go kill
    18     all the Jews; Schmeltz said that.
    19                He told me that originally he's from Germany, and
    20     his wish if, like, all the Jews will be, like, burned out.
    21     So I did answer him. I told him I like all kind of people,
    22     all races, and I told him, like, if ISIS are -- you know,
    23     they are terrorists, not necessary all Muslims a bad. Or if
    24     the KKK are terrorists, not -- it doesn't mean that all white
    25     people they are terrorists. So if, like, if the Zions are


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      1    terrorists, not necessarily all Jews are terrorists. I told
      2    him personally all of my lawyers from before, all of them are
      3    Jews. And all of my clients -- all of my clients in San
      4    Diego, 70 percent, are Jews. And I was like raised there,
      5    and I never had any terrorism attack or did anything bad
      6    against Jews.
      7    Q.   So, Mr. Ramadan, at some point when you were in the
      8    first interrogation room were you asked questions -- were you
      9    asked about your digital devices?
    10     A.   This question they asked me a lot about it, lots of
    11     times.
    12     Q.   What specifically did they ask you about your media?
    13     A.   So they wanted the passwords for my own -- my cellular
    14     phone. Okay. So they were, like, looking at my videos, and
    15     I did not give them any permission to look at my -- at the
    16     hard drive.
    17     Q.   Mr. Ramadan, you mentioned that they asked for your pass
    18     code. Did you give them your pass code?
    19     A.   No.
    20     Q.   Why didn't you want to give them your pass code?
    21     A.   So as a personal -- a personal Muslim person, I have my
    22     wife's pictures on my phone, I have my kids, and the picture
    23     of my identity, and I have my -- pictures of my social
    24     securities and medical records about me and my family, and
    25     about -- it has, like, my personal life -- information. And


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      1    my wife was, like, half naked in those pictures, so that's
      2    why I don't want to give him my password. So it is against
      3    the Muslim culture and my own belief and culture too. So if
      4    somebody would ask me for the password I'm not going to give
      5    it to them even if, like, somebody told me I'm going to kill
      6    you, I would not give them my password. It is like my honor.
      7    Q.     How did Officer Schmeltz and Officer Robinson react when
      8    you refused to give your password?
      9    A.     So they were, like, more aggressive and not comfortable,
    10     and every time they would ask me about the password and about
    11     terrorism, I would, like, ask for a lawyer.
    12     Q.     What were -- what was Officer Armentrout wearing that
    13     day?
    14     A.     Regular clothes.
    15     Q.     Were you aware of whether he had any weapons on him?
    16     A.     He had a gun and handcuffs. I think his duty weapon was
    17     a Sig -- a Sig.
    18     Q.     And what was Officer Schmeltz wearing that night?
    19     A.     A blue suit, dark, and they have the duty belt, has his
    20     gun and magazine or handcuffs, or baton, and he was wearing
    21     his bulletproof vest under his shirt.
    22     Q.     Okay. So after you told him that you would not give
    23     them the pass codes, was that the end of the conversation?
    24     A.     No.
    25     Q.     So what happens next?


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      1    A.   So after I told him that -- he told me that I have to
      2    speak and give him the password, I said I'm not going to give
      3    it to you. I was like a little bit frowning when I said no,
      4    I'm not going to give it to you. And he told me stand up,
      5    and turn around, and he did put the handcuffs on me.
      6    Q.   When you were hand -- when Officer Schmeltz -- well, who
      7    put the handcuffs on you?
      8    A.   Armstrong.
      9    Q.   You think it was Armentrout. Okay. And when he put the
    10     handcuffs on you, where were your hands?
    11     A.   Behind me like this (indicating).
    12     Q.   And when he put the handcuffs on you, could your
    13     children see you?
    14     A.   Yes. So I was, like, trying to show my wife that they
    15     were putting the handcuffs on me so she would know what's
    16     going on, and he told me come over here. So I was, like,
    17     next to the window, and he told me come here behind the doors
    18     that is closed. And he told me that he doesn't want to show
    19     my family -- like, he doesn't want the family to see why he
    20     is putting the handcuffs on me. My wife did see the
    21     handcuffs, and I felt, like, she's worried and she was
    22     scared, and the kids they saw that too.
    23     Q.   When they put the handcuffs on you, how tight were they?
    24     A.   A lot, and I told him that it's too tight on me, and he
    25     told me you'll be fine.


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      1    Q.   After --
      2    A.   And when I left I took pictures of my hands how, like,
      3    the marks were -- that did leave on my hands.
      4    Q.   After you were handcuffed, were you asked any questions
      5    in that first interrogation room?
      6    A.   Yes. Officer Armentrout he got, like, upset and he left
      7    the room.      He went to the command center, I believe. Maybe
      8    he went to check out some videos for me -- about me because
      9    when he came back he start asking me questions about the
    10     videos and pictures that was on the hard drive.
    11                 THE COURT: Okay. We are going to break at this
    12     point.
    13                 MS. FITZHARRIS: Okay.
    14                 THE COURT: We will resume tomorrow morning with --
    15     at this point. What other witnesses are you presenting,
    16     Counsel?
    17                 MS. FITZHARRIS: Mr. Ramadan is our last witness
    18     that we expect to call, you know, but --
    19                 THE COURT: But -- I'm sorry?
    20                 MS. FITZHARRIS: Mr. Ramadan -- we expect
    21     Mr. Ramadan will be our last witness.
    22                 THE COURT: Okay. All right. We will begin
    23     tomorrow morning, it will be about 10:30, and hopefully we
    24     can conclude everything tomorrow, I'm hoping. All right.
    25     Thank you.


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      1               THE LAW CLERK: All rise. Court is in recess.
      2               (Proceedings concluded at 4:01 p.m.)
      3                                     _    _     _
      4                                  CERTIFICATION
      5
      6                   I, Robert L. Smith, Official Court Reporter of
      7    the United States District Court, Eastern District of
      8    Michigan, appointed pursuant to the provisions of Title 28,
      9    United States Code, Section 753, do hereby certify that the
    10     foregoing pages comprise a full, true and correct transcript
    11     taken in the matter of U.S.A. vs. Ramadan, Case No. 17-20595,
    12     on Wednesday, May 23, 2018.
    13
    14
    15
                                      Robert L. Smith, RPR, CSR 5098
    16                                Federal Official Court Reporter
                                      United States District Court
    17                                Eastern District of Michigan
    18
    19
    20     Date: 06/08/2018
    21     Detroit, Michigan
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